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                         Case 1:25-cv-11571-JEK(Eastern Daylight
                                                        Daylight
                                                         DocumentTime)13-6
                                                                 Time) Base City:
                                                                       Base City: CHE
                                                                                  CHE
                                                                              Filed 06/13/25   Page 1 of 18




                      Melanie M.
                      Melanie M. Chaput
                                 Chaput
                      Chaput Law
                      Chaput  Law Office
                                  Office
                      46 Bridge
                      46 Bridge Street,
                                Street, Unit
                                        Unit G
                                             G
                      Nashua, NH   03060
                      Nashua, NH 03060                                               NON-DETAINED
                                                                                     NON-DETAINED
                      EOIR ID#
                      EOIR  ID# IO998616
                                 IO998616


                                        UNITED STATES DEPARTMENT OF JUSTICE
                                        UNITED
                                      EXECUTIVE OFFICE
                                      EXECUTIVE OFFICE FOR IMMIGRATION
                                                           IMMIGRATION REVIEW
                                                IMMIGRATION COURT
                                                 IMMIGRATION  COURT
                                                 CHELMSFORD, MASSACHUSETTS
                                                 CHELMSFORD, MASSACHUSETTS




                      _________________________________________
                      In the
                      In the Matter
                             Matter of:
                                    of:                         ))
                                                                ))
                      Cleberson  OLIVEIRA
                      Cleberson OLIVEIRA GOMESGOMES             ))                   IN REMOVAL
                                                                                     IN REMOVAL
                             A# 226-040-357,
                             A#  226-040-357,                   ))                   PROCEEDINGS
                                                                                     PROCEEDINGS
                                                                )
                                                                )
                      Respondent
                      Respondent                                ))
                      _________________________________________ ))




                                             Immigration Judge:
                                             Immigration Judge: The
                                                                The Honorable
                                                                    Honorable Nina
                                                                               Nina Froes
                                                                                    Froes
                                              Next Hearing: December  4, 2025 at 1:30pm
                                              Next Hearing: December 4, 2025 at 1:30pm




                                RESPONDENT’S OPPOSITION
                                RESPONDENT'S            TO DHS'S
                                             OPPOSITION TO DHS’S MOTION
                                                                 MOTION TO
                                                                        TO DISMISS
                                                                           DISMISS
EOIR — -
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       1 of1 18
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                   on: 06/09/2025
                       06/09/2025 at
                                  at 06:08:55 PM (Eastern
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                                                          Daylight
                                                           DocumentTime) Base
                                                                         Base City:
                                                                   Time)13-6  City: CHE
                                                                                    CHE
                                                                                Filed 06/13/25               Page 2 of 18




                              On May
                              On     29, 2025
                                 May 29, 2025 counsel for the
                                              counsel for the Department
                                                              Department of Homeland Security
                                                                         of Homeland Security (DHS)
                                                                                              (DHS) Office
                                                                                                    Office of the
                                                                                                           of the
                      Principal Legal
                      Principal Legal Advisor
                                      Advisor (OPLA)
                                              (OPLA) filed
                                                     filed aa motion
                                                              motion to
                                                                     to dismiss
                                                                        dismiss these proceedings. DHS
                                                                                these proceedings. DHS alleges they
                                                                                                       alleges they
                      wish "to
                      wish “to place
                               place the
                                     the respondent
                                         respondent in
                                                    in expedited
                                                       expedited removal
                                                                 removal proceedings.
                                                                         proceedings. The
                                                                                      The Department
                                                                                          Department argues
                                                                                                     argues that
                                                                                                            that the
                                                                                                                 the

                      circumstances have
                      circumstances have changed
                                         changed since the issuance
                                                 since the issuance of the Notice
                                                                    of the Notice to
                                                                                  to Appear.”
                                                                                     Appear." See
                                                                                              See Order
                                                                                                  Order of the IJ
                                                                                                        of the IJ in
                                                                                                                  in
                      EROP, dated
                      EROP, dated May
                                  May 29,
                                      29, 2025.
                                          2025. OPLA
                                                OPLA did not seek
                                                     did not      Respondent’s position
                                                             seek Respondent's position before
                                                                                        before filing
                                                                                               filing the
                                                                                                      the motion
                                                                                                          motion

                      to dismiss,
                         dismiss, and
                                  and Respondent
                                      Respondent strenuously
                                                 strenuously opposes
                                                             opposes the
                                                                     the motion.
                                                                         motion.1         1
                      to
                              For the
                              For the reasons
                                      reasons set
                                              set forth
                                                  forth below,
                                                        below, the
                                                               the Court
                                                                   Court should
                                                                         should deny DHS’s motion
                                                                                deny DHS's        to dismiss.
                                                                                           motion to dismiss.

                              I. FACTS
                              I. FACTS AND
                                       AND PROCEDURAL
                                           PROCEDURAL HISTORY
                                                      HISTORY

                              DHS issued aa Notice
                              DHS issued    Notice to
                                                   to Appear
                                                      Appear (NTA)
                                                             (NTA) to initiate these
                                                                   to initiate these removal
                                                                                     removalproceedings
                                                                                             proceedings against
                                                                                                         against

                      Respondent on
                      Respondent on May
                                    May 13, 2024, alleging
                                        13, 2024, alleging that
                                                           that Respondent,
                                                                Respondent, is
                                                                            is aa native
                                                                                  native and citizen of
                                                                                         and citizen of Brazil,
                                                                                                        Brazil, is not aa
                                                                                                                is not
                      U.S. citizen
                      U.S. citizen or
                                   or national,
                                      national, that
                                                that he
                                                     he entered
                                                        entered the United States
                                                                the United        near Calexico,
                                                                           States near Calexico, California, on or
                                                                                                 California, on or about
                                                                                                                   about

                      May 12,
                      May     2024, without
                          12, 2024, without being
                                            being admitted
                                                  admitted or paroled after
                                                           or paroled       inspection by
                                                                      after inspection by an
                                                                                          an immigration
                                                                                             immigration officer. As aa
                                                                                                         officer. As
                      result, he
                      result, he is
                                 is charged
                                    charged as removable under
                                            as removable under section
                                                               section 212(a)(6)(A)(i) of the
                                                                       212(a)(6)(A)(i) of the Immigration
                                                                                              Immigration and
                                                                                                          and

                      Nationality Act
                      Nationality Act for being present
                                      for being present in
                                                        in the
                                                           the United
                                                               United States
                                                                      States without
                                                                             without admission
                                                                                     admission or parole. DHS
                                                                                               or parole. DHS filed
                                                                                                              filed the
                                                                                                                    the
                      NTA on
                      NTA on May
                             May 13, 2024, commencing
                                 13, 2024,            these removal
                                           commencing these removal proceedings.
                                                                    proceedings. Respondent's
                                                                                 Respondent’s hearing
                                                                                              hearing was
                                                                                                      was

                      continued so
                      continued    that he
                                so that he could
                                           could find
                                                 find an
                                                      an attorney
                                                         attorney and
                                                                  and his
                                                                      his most
                                                                          most recent
                                                                               recent hearing
                                                                                      hearing in
                                                                                              in this
                                                                                                 this matter
                                                                                                      matter was
                                                                                                             was

                      scheduled
                      scheduled for
                                for May
                                    May 29,
                                        29, 2025.
                                            2025.

                              At this
                              At this hearing
                                      hearing he
                                              he expressed
                                                 expressed that
                                                           that he
                                                                he wanted
                                                                   wanted more
                                                                          more time
                                                                               time to
                                                                                    to find
                                                                                       find an
                                                                                            an attorney
                                                                                               attorney to
                                                                                                        to assist
                                                                                                           assist him
                                                                                                                  him

                      with filing
                      with filing an
                                  an asylum
                                     asylum application
                                            application and
                                                        and that
                                                            that he
                                                                 he feared
                                                                    feared return
                                                                           return to
                                                                                  to Brazil.
                                                                                     Brazil. The
                                                                                             The court
                                                                                                 court noted
                                                                                                       noted that he had
                                                                                                             that he had

                      not filed
                      not       his asylum
                          filed his asylum application.
                                           application. As
                                                        As of
                                                           of that
                                                              that date,
                                                                   date, he
                                                                         he had
                                                                            had only
                                                                                only missed
                                                                                     missed his
                                                                                            his asylum
                                                                                                asylum deadline
                                                                                                       deadline by
                                                                                                                by 16
                                                                                                                   16



                      11 The Immigration Court
                         The Immigration     Court Practice
                                                    Practice Manual     (ICPM) states
                                                              Manual (ICPM)       states that
                                                                                         that aa party
                                                                                                 party “should
                                                                                                       "should make
                                                                                                                make aa good
                                                                                                                        good faith
                                                                                                                              faith
                      effort to ascertain the opposing party's position on the motion." EOIR Policy Manual, Pt. II -–
                       effort to ascertain  the opposing    party’s position   on  the motion.”   EOIR   Policy  Manual, Pt. II
                       ICPM, Ch.
                      ICPM,    Ch. 5.2(i),
                                    5.2(i), https://www.justice.gov/eoir/reference-materials/ic/chapter-5/2.
                                            https://www.justice.gov/eoir/reference-materials/ic/chapter-5/2. The     The Court
                                                                                                                          Court
              of 18




                       should reject
                      should   reject DHS's
                                      DHS’smotion
                                               motion for
                                                        for their
                                                            their failure
                                                                  failure to
                                                                           to comply
                                                                              comply with
                                                                                        withthe
                                                                                             the ICPM
                                                                                                  ICPM byby not
                                                                                                            not making
                                                                                                                 making aa good
                                                                                                                           good
       2 of2 18




                      faith effort to contact Respondent prior to his hearing and appears to have intentionally targeted
                       faith effort to contact  Respondent     prior  to his hearing   and appears   to have intentionally targeted
                       Respondents at
                      Respondents     at the
                                         the master
                                              master calendar
                                                      calendarhearing
                                                                hearing that
                                                                          that did
                                                                               did not
                                                                                     not have
                                                                                         have counsel
                                                                                               counsel present.
                                                                                                        present.
EOIR — -
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          Uploaded on: 06/09/2025
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                                  at 06:08:55 PM
                                              PM (Eastern
                           Case 1:25-cv-11571-JEK(Eastern Daylight
                                                          Daylight
                                                           DocumentTime)13-6
                                                                   Time) Base City:
                                                                         Base City: CHE
                                                                                    CHE
                                                                                Filed 06/13/25      Page 3 of 18




                      days. The
                      days. The Immigration Judge gave
                                Immigration Judge gave him
                                                       him an
                                                           an application
                                                              application for
                                                                          for asylum
                                                                              asylum and
                                                                                     and explained
                                                                                         explained that
                                                                                                   that the
                                                                                                        the needed
                                                                                                            needed
                      to file
                      to file as
                              as soon
                                 soon as
                                      as possible
                                         possible and
                                                  and that
                                                      that she
                                                           she would reschedule his
                                                               would reschedule his master
                                                                                    master calendar hearing for
                                                                                           calendar hearing for

                      Decmeber 4,
                      Decmeber 4, 2025. It was
                                  2025. It was only
                                               only at that time
                                                    at that time that
                                                                 that the
                                                                      the OPLA
                                                                          OPLA attorney
                                                                               attorney raised
                                                                                        raised the
                                                                                               the oral
                                                                                                   oral motion
                                                                                                        motion to
                                                                                                               to

                      dismiss the
                      dismiss the Respondent's
                                  Respondent’s case
                                               case and
                                                    and the
                                                        the Respondent's
                                                            Respondent’s current
                                                                         current pro
                                                                                 pro bono
                                                                                     bono attorney
                                                                                          attorney intervened.
                                                                                                   intervened. She
                                                                                                               She

                      noted that
                      noted that ICE
                                 ICE officers
                                     officers were
                                              were outside
                                                   outside the
                                                           the courtroom
                                                               courtroom and
                                                                         and were
                                                                             were about
                                                                                  about to
                                                                                        to arrest
                                                                                           arrest the
                                                                                                  the Respondent.
                                                                                                      Respondent. The
                                                                                                                  The

                      OPLA attorney
                      OPLA attorney maintained
                                    maintained that
                                               that he
                                                    he had
                                                       had no
                                                           no knowledge
                                                              knowledge of
                                                                        of an
                                                                           an ICE
                                                                              ICE operation
                                                                                  operation and
                                                                                            and did
                                                                                                did not
                                                                                                    not have
                                                                                                        have

                      “jurisdiction” to
                      "jurisdiction" to speak
                                        speak to
                                              to them
                                                 them about
                                                      about their intentions to
                                                            their intentions to arrest
                                                                                arrest the
                                                                                       the Respondent. The IJ
                                                                                           Respondent. The IJ put
                                                                                                              put the
                                                                                                                  the
                      parties on
                      parties    the record
                              on the record and
                                            and allowed us 10
                                                allowed us 10 days
                                                              days to respond to
                                                                   to respond to the
                                                                                 the oral motion to
                                                                                     oral motion to dismiss.
                                                                                                    dismiss. Over
                                                                                                             Over the
                                                                                                                  the

                      Respondent's Counsel's objection,
                      Respondent’s Counsel’s objection, she
                                                        she did
                                                            did not
                                                                not order
                                                                    order OPLA
                                                                          OPLA to
                                                                               to put
                                                                                  put their
                                                                                      their motion in writing
                                                                                            motion in writing or
                                                                                                              or to
                                                                                                                 to

                      further clarify
                      further clarify the
                                      the reasons
                                          reasons for
                                                  for their
                                                      their motion.
                                                            motion.

                              The Respondent
                              The            was arrested
                                  Respondent was arrested by
                                                          by ICE
                                                             ICE immediately
                                                                 immediately upon
                                                                             upon leaving
                                                                                  leaving the
                                                                                          the building.
                                                                                              building. He
                                                                                                        He spent
                                                                                                           spent

                      three (3)
                      three (3) days
                                daysin
                                     in custody
                                        custody at
                                                at the
                                                   the Burlington
                                                       Burlington ICE
                                                                  ICE office
                                                                      office in
                                                                             in abhorrent
                                                                                abhorrent conditions
                                                                                          conditions and
                                                                                                     and was
                                                                                                         was transferred
                                                                                                             transferred

                      to the
                      to the Plymouth
                             Plymouth House
                                      House of
                                            of Corrections
                                               Corrections in Plymouth, MA.
                                                           in Plymouth, MA. The
                                                                            The Respondent
                                                                                Respondent has
                                                                                           has filed
                                                                                               filed aa habeas
                                                                                                        habeas

                      petition with
                      petition with the
                                    the US
                                        US District
                                           District Court
                                                    Court of Massachusetts which
                                                          of Massachusetts which is
                                                                                 is pending
                                                                                    pending due
                                                                                            due to
                                                                                                to the
                                                                                                   the unlawfulness
                                                                                                       unlawfulness of
                                                                                                                    of
                      his arrest.
                      his arrest. Respondent
                                  Respondent has
                                             has attended all of
                                                 attended all    his previous
                                                              of his previous court
                                                                              court hearings, has no
                                                                                    hearings, has no criminal
                                                                                                     criminal record
                                                                                                              record and
                                                                                                                     and
                      ICE has
                      ICE has provided
                              provided no
                                       no justification
                                          justification for his arrest
                                                        for his arrest or reason that
                                                                       or reason that he
                                                                                      he should be placed
                                                                                         should be placed in
                                                                                                          in expedited
                                                                                                             expedited

                      removal. Now
                      removal. Now that
                                   that the
                                        the Respondent
                                            Respondent is
                                                       is detained,
                                                          detained, ifif the
                                                                         the court
                                                                             court grants
                                                                                   grants their
                                                                                          their Motion
                                                                                                Motion he
                                                                                                       he could
                                                                                                          could be
                                                                                                                be
                      subject to
                      subject to mandatory
                                 mandatory detention
                                           detention (detention
                                                     (detention without
                                                                without bond),
                                                                        bond), immediate
                                                                               immediate return
                                                                                         return to his home
                                                                                                to his home country,
                                                                                                            country,
                      and/or disappeared
                      and/or disappeared to
                                         to aa foreign
                                               foreign country
                                                       country where
                                                               where will
                                                                     willnot
                                                                          not be
                                                                              be able
                                                                                 able to
                                                                                      to find
                                                                                         find him
                                                                                              him as
                                                                                                  ashas
                                                                                                     has happened
                                                                                                         happened in
                                                                                                                  in

                      several high-profile
                      several high-profile cases.
                                           cases.

                              II. ARGUMENT
                              II. ARGUMENT

                              This Court
                              This Court should deny DHS's
                                         should deny DHS’s motion
                                                           motion to
                                                                  to dismiss. In adjudicating
                                                                     dismiss. In adjudicating DHS’s
                                                                                              DHS's motion,
                                                                                                    motion, this
                                                                                                            this
                      Court must
                      Court must consider
                                 consider Respondent's
                                          Respondent’s arguments
                                                       arguments in
                                                                 in opposition
                                                                    opposition to
                                                                               to the motion. Matter
                                                                                  the motion. Matter of
                                                                                                     of G-N-C-,
                                                                                                        G-N-C-, 22
                                                                                                                22
              of 18




                      I&N Dec.
                      I&N Dec. 281,
                               281, 284-85
                                    284-85 (BIA
                                           (BIA 1998).
                                                1998). This
                                                       This Court
                                                            Court should
                                                                  should deny
                                                                         deny DHS’s
                                                                              DHS's motion
                                                                                    motion to
                                                                                           to dismiss
                                                                                              dismiss because
                                                                                                      because 22
       3 of3 18
EOIR — -
EOIR
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                                  at 06:08:55 PM
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                                                          Daylight
                                                           DocumentTime)13-6
                                                                   Time) Base City:
                                                                         Base City: CHE
                                                                                    CHE
                                                                                Filed 06/13/25       Page 4 of 18




                      Respondent wishes
                      Respondent wishes to
                                        to have
                                           have this
                                                this Court
                                                     Court adjudicate
                                                           adjudicate his
                                                                      his application
                                                                          application for
                                                                                      for asylum,
                                                                                          asylum, withholding
                                                                                                  withholding of
                                                                                                              of
                      removal and
                      removal     withholding based
                              and withholding based on
                                                    on the
                                                       the Torture
                                                           Torture Convention,
                                                                   Convention, and,
                                                                               and, since
                                                                                    since DHS
                                                                                          DHS has
                                                                                              has chosen
                                                                                                  chosen to
                                                                                                         to

                      commence INA
                      commence INA §§ 240
                                      240 proceedings,
                                          proceedings, he
                                                       he has
                                                          has aa right
                                                                 right to
                                                                       to be
                                                                          be heard
                                                                             heard on
                                                                                   on those
                                                                                      those claims.
                                                                                            claims. Further,
                                                                                                    Further,

                      Respondent will
                      Respondent will suffer serious prejudice
                                      suffer serious prejudice if
                                                               if this
                                                                  this Court
                                                                       Court grants
                                                                             grants DHS's
                                                                                    DHS’s motion
                                                                                          motion to
                                                                                                 to dismiss
                                                                                                    dismiss and
                                                                                                            and he
                                                                                                                he is
                                                                                                                   is

                      not able
                      not      to pursue
                          able to pursue his
                                         his application
                                             application for asylum, withholding
                                                         for asylum, withholding of removal and
                                                                                 of removal and withholding
                                                                                                withholding based
                                                                                                            based on
                                                                                                                  on
                      the Torture
                      the Torture Convention before this
                                  Convention before this Court.
                                                         Court.

                             Even evaluating
                             Even evaluating DHS's
                                             DHS’s motion
                                                   motion solely on its
                                                          solely on its stated basis pursuant
                                                                        stated basis pursuant to
                                                                                              to 88 C.F.R.
                                                                                                    C.F.R. §§

                      239.2(a)(7), the
                      239.2(a)(7), the motion
                                       motion must
                                              must be
                                                   be denied
                                                      denied because
                                                             because DHS
                                                                     DHS has
                                                                         has failed to establish
                                                                             failed to establish that
                                                                                                 that circumstances
                                                                                                      circumstances in
                                                                                                                    in
                      this case
                      this case have
                                have changed
                                     changed since the NTA's
                                             since the NTA’s issuance,
                                                             issuance, or
                                                                       or that
                                                                          that itit is
                                                                                    is not
                                                                                       not in
                                                                                           in the
                                                                                              the government's
                                                                                                  government’s best
                                                                                                               best

                      interest for
                      interest     the case
                               for the case to
                                            to proceed
                                               proceed to
                                                       to aa final merits adjudication.
                                                             final merits adjudication. In
                                                                                        In fact,
                                                                                           fact, DHS
                                                                                                 DHS cannot
                                                                                                     cannot lawfully
                                                                                                            lawfully apply
                                                                                                                     apply
                      expedited removal
                      expedited removal to
                                        to the
                                           the Respondent,
                                               Respondent, as
                                                           as doing
                                                              doing so
                                                                    so would
                                                                       would violate
                                                                             violate bedrock
                                                                                     bedrock anti-retroactivity
                                                                                             anti-retroactivity law.
                                                                                                                law.
                      See Bowen
                      See Bowen v.
                                v. Georgetown
                                   Georgetown Univ.
                                              Univ. Hosp.,
                                                    Hosp., 488
                                                           488 U.S.
                                                               U.S. 204,
                                                                    204, 208
                                                                         208 (1988).
                                                                             (1988).



                      A. This
                      A. This Court Has aa Duty
                              Court Has    Duty to
                                                to Consider
                                                   Consider the
                                                            the Respondent’s
                                                                Respondent's Arguments
                                                                             Arguments in
                                                                                       in Opposition
                                                                                          Opposition to
                                                                                                     to DHS’s
                                                                                                        DHS's
                      Motion to
                      Motion to Dismiss.
                                Dismiss.

                             This Court
                             This Court has
                                        has the
                                            the exclusive
                                                exclusive authority
                                                          authority to
                                                                    to decide
                                                                       decide whether
                                                                              whether or
                                                                                      or not
                                                                                         not to
                                                                                             to dismiss
                                                                                                dismiss these
                                                                                                        these removal
                                                                                                              removal

                      proceedings, and
                      proceedings, and itit must
                                            must consider
                                                 consider the
                                                          the Respondent's
                                                              Respondent’s reasons
                                                                           reasons for
                                                                                   for opposing
                                                                                       opposing DHS's
                                                                                                DHS’s motion.
                                                                                                      motion. See
                                                                                                              See 88
                      C.F.R. §§ 1239.2(c);
                      C.F.R.               Matter of
                                1239.2(c); Matter of G-N-C-,
                                                     G-N-C-, 22
                                                             22 I&N
                                                                I&N Dec.
                                                                    Dec. 281,
                                                                         281, 284-85
                                                                              284-85 (BIA
                                                                                     (BIA 1998). Board of
                                                                                          1998). Board of

                      Immigration Appeals
                      Immigration Appeals (BIA)
                                          (BIA) precedent
                                                precedent recognizes
                                                          recognizes that,
                                                                     that, in
                                                                           in adjudicating
                                                                              adjudicating aa DHS
                                                                                              DHS motion
                                                                                                  motion to
                                                                                                         to dismiss,
                                                                                                            dismiss,
                      an Immigration
                      an Immigration Judge
                                     Judgemust
                                           must consider
                                                considerboth
                                                         both parties'
                                                              parties’ arguments.
                                                                       arguments. G-N-C-,
                                                                                  G-N-C-, 22
                                                                                          22 I&N
                                                                                             I&N Dec.
                                                                                                 Dec. at
                                                                                                      at 284-85
                                                                                                         284-85

                      (“To the
                      ("To the extent that these
                               extent that       proceedings were
                                           these proceedings were terminated without considering
                                                                  terminated without considering arguments
                                                                                                 arguments from both
                                                                                                           from both
                      sides, the
                      sides, the Immigration
                                 Immigration Judge
                                             Judge erred.").
                                                   erred.”). In
                                                             In aa 2023
                                                                   2023 case,
                                                                        case, the
                                                                              the BIA
                                                                                  BIA reaffirmed
                                                                                      reaffirmed its
                                                                                                 its longstanding
                                                                                                     longstanding
                      precedent that
                      precedent that when
                                     when DHS
                                          DHS moves
                                              moves to
                                                    to dismiss
                                                       dismiss removal
                                                               removal proceedings,
                                                                       proceedings, the
                                                                                    the Immigration Judge
                                                                                        Immigration Judge
                      “must ...
                      "must . . . independently
                                  independently adjudicate
                                                adjudicate the
                                                           the motion."
                                                               motion.” Matter
                                                                        Matter of
                                                                               of H.N.
                                                                                  H.N. Ferreira,
                                                                                       Ferreira, 28
                                                                                                 28 I&N
                                                                                                    I&N Dec.
                                                                                                        Dec. 765, 768
                                                                                                             765, 768
              of 18
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                      (BIA 2023). In
                      (BIA 2023). In adjudicating
                                     adjudicating DHS’s
                                                  DHS's motion,
                                                        motion, the
                                                                the Court
                                                                    Court must consider all
                                                                          must consider all "underlying facts and
                                                                                            “underlying facts and
EOIR — 4
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        Uploaded
        Uploaded on:
                 on: 06/09/2025
                     06/09/2025 at
                                at 06:08:55
                                   06:08:55 PM
                                            PM (Eastern
                         Case 1:25-cv-11571-JEK         Daylight
                                               (Eastern Daylight
                                                         DocumentTime) Base City:
                                                                 Time)13-6
                                                                       Base City: CHE
                                                                                  CHE
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                      circumstances,” including
                      circumstances," including "[t]he
                                                “[t]he respondent's
                                                       respondent’s interest."
                                                                    interest.” Id.
                                                                               Id. at
                                                                                   at 769.
                                                                                      769. Recent
                                                                                           Recent EOIR
                                                                                                  EOIR guidance
                                                                                                       guidancehas
                                                                                                                has

                      affirmed the
                      affirmed the Immigration
                                   Immigration Judge's
                                               Judge’s role
                                                       role as
                                                            as an
                                                               an independent
                                                                  independent and
                                                                              and impartial
                                                                                  impartial adjudicator.
                                                                                            adjudicator. See
                                                                                                         See 33

                      Memorandum
                      Memorandum from
                                 from Sirce
                                      Sirce E.
                                            E. Owen,
                                               Owen, EOIR
                                                     EOIR Acting
                                                          Acting Dir.,
                                                                 Dir., PM
                                                                       PM 25-02,
                                                                          25-02, EOIR's
                                                                                 EOIR’s Core
                                                                                        Core Policy
                                                                                             Policy Values, at
                                                                                                    Values, at

                      11 (Jan. 27, 2025).
                         (Jan. 27, 2025). In
                                          In interpreting
                                             interpreting Immigration
                                                          Immigration Judge
                                                                      Judge and
                                                                            and BIA
                                                                                BIA regulatory
                                                                                    regulatory authority
                                                                                               authority to
                                                                                                         to control
                                                                                                            control
                      removal proceedings
                      removal proceedings and
                                          and adjudicate
                                              adjudicate other
                                                         other types
                                                               types of
                                                                     of motions
                                                                        motions that
                                                                                that bear
                                                                                     bear on
                                                                                          on aa case's
                                                                                                case’s finality,
                                                                                                       finality, the
                                                                                                                 the BIA
                                                                                                                     BIA

                      has repeatedly
                      has repeatedly confirmed
                                     confirmed that
                                               that DHS
                                                    DHS does
                                                        does not
                                                             not have
                                                                 have "absolute
                                                                      “absolute veto
                                                                                veto power
                                                                                     power over
                                                                                           over the
                                                                                                the authority
                                                                                                    authority of
                                                                                                              of an
                                                                                                                 an

                      Immigration Judge
                      Immigration Judge or the Board
                                        or the Board to
                                                     to act
                                                        act in proceedings.” Matter
                                                            in proceedings." Matter of
                                                                                    of Avetisyan, 25 I&N
                                                                                       Avetisyan, 25 I&N Dec.
                                                                                                         Dec. 688,
                                                                                                              688,
                      693 (BIA
                      693 (BIA 2012);
                               2012); accord
                                      accord Matter
                                             Matter of
                                                    of W-Y-U-,
                                                       W-Y-U-, 27
                                                               27 I&N
                                                                  I&N Dec.
                                                                      Dec. 17, 20 n.5
                                                                           17, 20 n.5 (BIA
                                                                                      (BIA 2017);
                                                                                           2017); see
                                                                                                  see also
                                                                                                      also

                      Gonzalez-Caraveo
                      Gonzalez-Caraveo v.
                                       v. Sessions,
                                          Sessions, 882
                                                    882 F.3d
                                                        F.3d 885,
                                                             885, 890
                                                                  890 (9th
                                                                      (9th Cir.
                                                                           Cir. 2018)
                                                                                2018) ("In
                                                                                      (“In the
                                                                                           the context
                                                                                               context of
                                                                                                       of ..
                                                                                                          . . .. motions
                                                                                                                 motions

                      to reopen
                      to reopen and
                                and requests
                                    requests for
                                             for continuances-the
                                                 continuances—the BIA
                                                                  BIA and
                                                                      and the
                                                                          the Ninth
                                                                              Ninth Circuit,
                                                                                    Circuit, as
                                                                                             as well
                                                                                                well as other circuits,
                                                                                                     as other circuits,

                      have rejected
                      have rejected allowing
                                    allowing such veto power
                                             such veto power to
                                                             to aa party.”).
                                                                   party.").
                             Instead, Immigration
                             Instead, Immigration Judges
                                                  Judges are
                                                         are required
                                                             required to
                                                                      to "exercise
                                                                         “exercise [their]
                                                                                    [their] independent
                                                                                            independent judgment
                                                                                                        judgment and
                                                                                                                 and

                      discretion and
                      discretion andmay
                                     may take
                                         take any
                                              any action
                                                  action consistent
                                                         consistent with
                                                                    with the
                                                                         the Act
                                                                             Act and
                                                                                 and regulations
                                                                                     regulations that
                                                                                                 that is
                                                                                                      is appropriate
                                                                                                         appropriate and
                                                                                                                     and
                      necessary for
                      necessary for the
                                    the disposition
                                        disposition of
                                                    of such
                                                       such cases."
                                                            cases.” Avetisyan,
                                                                    Avetisyan, 25
                                                                               25 I&N
                                                                                  I&N Dec.
                                                                                      Dec. at
                                                                                           at 691
                                                                                              691 (citing
                                                                                                  (citing 88 C.F.R.
                                                                                                             C.F.R. §§
                      1003.10(b)). In
                      1003.10(b)). In sum, this Court
                                      sum, this       must consider
                                                Court must          the Respondent’s
                                                           consider the Respondent's arguments
                                                                                     arguments against
                                                                                               against dismissal.
                                                                                                       dismissal.


                            B. This
                            B. This Court
                                    Court Should
                                          Should Deny
                                                 Deny DHS's
                                                      DHS’s Motion
                                                             Motion to
                                                                     to Dismiss
                                                                        Dismiss Because
                                                                                Because Dismissal
                                                                                        Dismissal for
                                                                                                  for
                      Expedited Removal  Would Severely Prejudice the Respondent.
                      Expedited Removal Would Severely Prejudice the Respondent.

                             Dismissal of
                             Dismissal of these proceedings so
                                          these proceedings so that
                                                               that DHS
                                                                    DHS can
                                                                        can subject
                                                                            subject the Respondent to
                                                                                    the Respondent to expedited
                                                                                                      expedited

                      removal would result
                      removal would result in
                                           in his swift return
                                              his swift        to Brazil,
                                                        return to Brazil, where
                                                                          where he
                                                                                he would
                                                                                   would face
                                                                                         face harm and mandatory
                                                                                              harm and mandatory

                      detention without
                      detention without the
                                        the possiblity
                                            possiblity to
                                                       to pursue
                                                          pursue his
                                                                 his immigration
                                                                     immigration case. Dismissal of
                                                                                 case. Dismissal of these
                                                                                                    these proceedings
                                                                                                          proceedings

                      would also
                      would also deprive
                                 deprive the
                                         the Respondent
                                             Respondent of his right
                                                        of his right to
                                                                     to have
                                                                        have his
                                                                             his meritorious
                                                                                 meritorious claim
                                                                                             claim for
                                                                                                   for asylum,
                                                                                                       asylum,
                      withholding of
                      withholding of removal
                                     removal and
                                             and withholding
                                                 withholding based
                                                             based on
                                                                   on the
                                                                      the Torture
                                                                          Torture Convention
                                                                                  Convention adjudicated,
                                                                                             adjudicated, as
                                                                                                          as

                      described below.
                      described below. BIA
                                       BIA case
                                           case law
                                                law evaluating unilateral DHS
                                                    evaluating unilateral DHS dismissal motions has
                                                                              dismissal motions has upheld
                                                                                                    upheld
              of 18
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                      dismissal where
                      dismissal where the respondent was
                                      the respondent     not prejudiced.
                                                     was not prejudiced. See,
                                                                         See, e.g.,
                                                                              e.g., Matter
                                                                                    Matter of Andrade Jaso
                                                                                           of Andrade Jaso &
                                                                                                           & Carbajal
                                                                                                             Carbajal
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          Uploaded on:
                   on: 06/09/2025
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                                  at 06:08:55
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                           Case 1:25-cv-11571-JEK         Daylight
                                                 (Eastern Daylight
                                                           DocumentTime) Base City:
                                                                   Time)13-6
                                                                         Base City: CHE
                                                                                    CHE
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                      Ayala, 27
                      Ayala, 27 I&N
                                I&N Dec.
                                    Dec. 557,
                                         557, 559
                                              559 (BIA
                                                  (BIA 44 2019)
                                                          2019) (upholding
                                                                (upholding Immigration
                                                                           Immigration Judge
                                                                                       Judge grant of DHS
                                                                                             grant of DHS motion
                                                                                                          motion

                      to dismiss
                      to dismiss noting
                                 noting that
                                        that dismissal was without
                                             dismissal was without prejudice,
                                                                   prejudice, as
                                                                              as "[t]he
                                                                                 “[t]he respondents
                                                                                        respondents have
                                                                                                    have not
                                                                                                         not been
                                                                                                             been

                      ordered removed,
                      ordered removed, ...
                                       . . . there
                                             there is no indication
                                                   is no            that they
                                                         indication that they are in imminent
                                                                              are in imminent danger
                                                                                              danger of removal,” and
                                                                                                     of removal," and
                      they could
                      they could pursue relief in
                                 pursue relief in the
                                                  the future
                                                      future if DHS placed
                                                             if DHS placed them
                                                                           them into
                                                                                into new
                                                                                     new removal proceedings); G-N-
                                                                                         removal proceedings); G-N-

                      C-, 22
                      C-, 22 I&N
                             I&N Dec.
                                 Dec. at
                                      at 286
                                         286 (upholding
                                             (upholding DHS's
                                                        DHS’s motion
                                                              motion to
                                                                     to dismiss
                                                                        dismiss where
                                                                                where the
                                                                                      the respondent
                                                                                          respondent did
                                                                                                     did not
                                                                                                         not

                      specify relief
                      specify relief he
                                     he was
                                        was eligible
                                            eligible for
                                                     for or
                                                         or "explain
                                                            “explain how
                                                                     how he
                                                                         he was
                                                                            was prejudiced"
                                                                                prejudiced” by
                                                                                            by the
                                                                                               the Immigration
                                                                                                   Immigration Judge's
                                                                                                               Judge’s

                      decision to
                      decision to dismiss).
                                  dismiss). In
                                            In contrast, here, the
                                               contrast, here, the dismissal
                                                                   dismissal would
                                                                             would severely
                                                                                   severely prejudice
                                                                                            prejudice the
                                                                                                      the Respondent,
                                                                                                          Respondent,
                      and thus
                      and thus the
                               the Court
                                   Court must
                                         must deny
                                              deny DHS's
                                                   DHS’s motion.
                                                         motion.

                      1. Respondent
                      1. Respondent Has
                                    Has aa Right
                                           Right to
                                                 to Pursue
                                                    Pursue Asylum,
                                                           Asylum, Withholding
                                                                   Withholding of
                                                                               of Removal
                                                                                  Removal and
                                                                                          and Withholding
                                                                                              Withholding
                      Based on
                      Based on the
                               the Torture
                                   Torture Convention,
                                           Convention, and
                                                       and This
                                                           This Court
                                                                Court Has
                                                                      Has aa Responsibility
                                                                             Responsibility to
                                                                                            to Adjudicate
                                                                                               Adjudicate

                      Respondent’s Application.
                      Respondent's Application.

                              This Court
                              This Court should deny DHS's
                                         should deny DHS’s motion
                                                           motion to
                                                                  to dismiss
                                                                     dismiss because
                                                                             because the
                                                                                     the Respondent
                                                                                         Respondent has
                                                                                                    has aa right
                                                                                                           right to
                                                                                                                 to

                      have his
                      have his asylum,
                               asylum, withholding
                                       withholding of
                                                   of removal
                                                      removal and
                                                              and withholding
                                                                  withholding based
                                                                              based on
                                                                                    on the
                                                                                       the Torture
                                                                                           Torture Convention
                                                                                                   Convention

                      claim adjudicated
                      claim adjudicated on
                                        on the
                                           the merits.
                                               merits. Noncitizens
                                                       Noncitizens in
                                                                   in removal
                                                                      removal proceedings have aa right
                                                                              proceedings have    right to
                                                                                                        to apply
                                                                                                           apply for
                                                                                                                 for
                      relief from
                      relief      removal and
                             from removal     to aa hearing
                                          and to    hearing on their applications
                                                            on their applications for
                                                                                  for relief.
                                                                                      relief. See
                                                                                              See INA
                                                                                                  INA §§ 240(b)(4)(B);
                                                                                                         240(b)(4)(B); 8
                                                                                                                       8

                      C.F.R. §§ 1240.10(a)(4);
                      C.F.R.    1240.10(a)(4); see
                                               see also,
                                                   also, e.g., Matter of
                                                         e.g., Matter    M-A-M-, 25
                                                                      of M-A-M-, 25 I&N
                                                                                    I&N Dec. 474, 479
                                                                                        Dec. 474, 479 (BIA 2011)
                                                                                                      (BIA 2011)
                      (“Included in
                      ("Included in the
                                    the rights
                                        rights that
                                               that the
                                                    the Due
                                                        Due Process
                                                            Process Clause
                                                                    Clause requires
                                                                           requires in
                                                                                    in removal
                                                                                       removal proceedings
                                                                                               proceedings is
                                                                                                           is the
                                                                                                              the right
                                                                                                                  right
                      to aa full
                      to    full and
                                 and fair
                                     fair hearing.").
                                          hearing.”). The regulations state
                                                      The regulations       that the
                                                                      state that the Immigration
                                                                                     Immigration Judge
                                                                                                 Judge "shall
                                                                                                       “shall inform the
                                                                                                              inform the
                      [noncitizen] of
                      [noncitizen] of his
                                      his or
                                          or her
                                             her apparent
                                                 apparent eligibility
                                                          eligibility to
                                                                      to apply
                                                                         apply for
                                                                               for any
                                                                                   any of the benefits
                                                                                       of the benefits enumerated
                                                                                                       enumerated in
                                                                                                                  in this
                                                                                                                     this

                      chapter and
                      chapter and shall
                                  shall afford
                                        afford the [noncitizen] an
                                               the [noncitizen] an opportunity
                                                                   opportunity to
                                                                               to make
                                                                                  make application
                                                                                       application during
                                                                                                   during the
                                                                                                          the hearing,
                                                                                                              hearing,
                      in accordance
                      in            with the
                         accordance with the provisions
                                             provisions of
                                                        of §§ 1240.8(d).”
                                                              1240.8(d)." 88 C.F.R.
                                                                             C.F.R. §§ 1240.11(a)(2)
                                                                                       1240.11(a)(2) (emphases
                                                                                                     (emphases added).
                                                                                                               added).

                      [For
                      [For asylum
                           asylum and
                                  and related
                                      related relief:
                                              relief: Respondent
                                                      Respondent has
                                                                 has aa statutory
                                                                        statutory right
                                                                                  right to seek asylum.
                                                                                        to seek asylum. INA
                                                                                                        INA §§ 208(a)(1)
                                                                                                               208(a)(1)

                      (“[A noncitizen]
                      ("[A noncitizen] who
                                       who is
                                           is physically
                                              physically present
                                                         present in
                                                                 in the
                                                                    the United
                                                                        United States
                                                                               States or
                                                                                      or who
                                                                                         who arrives
                                                                                             arrives in
                                                                                                     in the
                                                                                                        the United
                                                                                                            United
              of 18




                      States ...
                      States . . . irrespective
                                   irrespective of
                                                of such
                                                   such [noncitizen's]
                                                        [noncitizen’s] status, may apply
                                                                       status, may apply for
                                                                                         for asylum
                                                                                             asylum .....
                                                                                                       . . .”). Granting
                                                                                                           "). Granting
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          Uploaded on: 06/09/2025 at 06:08:55
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                                              PM (Eastern
                           Case 1:25-cv-11571-JEK(Eastern Daylight
                                                          Daylight
                                                           DocumentTime)13-6
                                                                   Time) Base City:
                                                                         Base City: CHE
                                                                                    CHE
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                      DHS’s motion
                      DHS's motion to
                                   to dismiss
                                      dismiss where,
                                              where, as
                                                     as here,
                                                        here, Respondent
                                                              Respondent wishes
                                                                         wishes to
                                                                                to present
                                                                                   present his
                                                                                           his asylum
                                                                                               asylum claim would
                                                                                                      claim would
                      subvert Congress's
                      subvert Congress’s clearly
                                         clearly articulated intent. It
                                                 articulated intent. It would
                                                                        would also
                                                                              also violate
                                                                                   violate his
                                                                                           his "right
                                                                                               “right to
                                                                                                      to aa hearing
                                                                                                            hearing on
                                                                                                                    on the
                                                                                                                       the

                      merits
                      merits of
                             of his
                                his claim."
                                    claim.” W-Y-U-,
                                            W-Y-U-, 27
                                                    27 I&N
                                                       I&N Dec.
                                                           Dec. at 19; see
                                                                at 19; see 88 C.F.R.
                                                                              C.F.R. §§ 1240.11(c)(3)
                                                                                        1240.11(c)(3) (directing
                                                                                                      (directing that
                                                                                                                 that
                      applications for
                      applications for asylum
                                       asylum and
                                              and withholding
                                                  withholding "will
                                                              “will be
                                                                    be decided
                                                                       decided by
                                                                               by the
                                                                                  the immigration
                                                                                      immigration judge
                                                                                                  judge .. ..
                                                                                                           . . after
                                                                                                               after an
                                                                                                                     an

                      evidentiary hearing
                      evidentiary hearing to
                                          to resolve
                                             resolve factual issues in
                                                     factual issues in dispute”
                                                                       dispute" (emphasis
                                                                                (emphasis added)). In adjudicating
                                                                                          added)). In              an
                                                                                                      adjudicating an
                      opposed DHS
                      opposed DHS motion
                                  motion to
                                         to dismiss,
                                            dismiss, as here, the
                                                     as here, the Court must consider
                                                                  Court must consider whether
                                                                                      whether dismissal
                                                                                              dismissal would
                                                                                                        would

                      prejudice the
                      prejudice the Respondent,
                                    Respondent, including
                                                including considering
                                                          considering the
                                                                      the Respondent's
                                                                          Respondent’s desire
                                                                                       desire to
                                                                                              to have
                                                                                                 have an
                                                                                                      an application
                                                                                                         application

                      for relief
                      for relief adjudicated
                                 adjudicated on
                                             on the
                                                the merits.
                                                    merits. Cf.
                                                            Cf. Avetisyan,
                                                                Avetisyan, 25
                                                                           25 I&N Dec. at
                                                                              I&N Dec. at 691
                                                                                          691 (recognizing
                                                                                              (recognizing that
                                                                                                           that in
                                                                                                                in
                      considering whether
                      considering whether to
                                          to defer
                                             defer action
                                                   action on
                                                          on aa case,
                                                                case, an
                                                                      an Immigration Judge considers
                                                                         Immigration Judge considers “justice
                                                                                                     "justice and
                                                                                                              and
                      fairness
                      fairness to
                               to the
                                  the parties").
                                      parties”).

                              Once DHS
                              Once DHShas
                                       has initiated
                                            initiated removal
                                                      removal proceedings
                                                              proceedings by
                                                                          by filing
                                                                             filing an
                                                                                    an NTA,
                                                                                       NTA, it
                                                                                            it is
                                                                                               is the
                                                                                                  the Court’s
                                                                                                      Court's
                      “responsibility to
                      "responsibility to...
                                         . . . adjudicate
                                               adjudicate the
                                                          the respondent's
                                                              respondent’s application
                                                                           application for
                                                                                       for relief
                                                                                           relief from
                                                                                                  from removal,
                                                                                                       removal, if
                                                                                                                if any."
                                                                                                                   any.” Id
                                                                                                                         Id.;
                                                                                                                            .;
                      see also
                      see also Matter
                               Matter of
                                      of J-A-B-
                                         J-A-B- & I-J-V-A-, 27
                                                & I-J-V-A-, 27 I&N
                                                               I&N Dec.
                                                                   Dec. 168,
                                                                        168, 170 (BIA 2017)
                                                                             170 (BIA 2017) (recognizing
                                                                                            (recognizing IJ's
                                                                                                         IJ’s "duty
                                                                                                              “duty

                      to adjudicate
                      to            the respondents'
                         adjudicate the respondents’ case
                                                     case once
                                                          once the
                                                               the removal
                                                                   removal proceedings
                                                                           proceedings were
                                                                                       were initiated.").
                                                                                            initiated.”). The
                                                                                                          The BIA
                                                                                                              BIA has
                                                                                                                  has

                      repeatedly recognized
                      repeatedly recognized that “[t]he role
                                            that "[t]he role of the Immigration
                                                             of the Immigration Courts
                                                                                Courts and
                                                                                       and the
                                                                                           the Board
                                                                                               Board is
                                                                                                     is to
                                                                                                        to adjudicate
                                                                                                           adjudicate
                      whether [a
                      whether [a noncitizen]
                                 noncitizen] is
                                             is removable
                                                removable and
                                                          and 66 eligible for relief
                                                                 eligible for relief from removal in
                                                                                     from removal in cases brought by
                                                                                                     cases brought by

                      the DHS."
                      the DHS.” J-A-B-
                                J-A-B- &
                                       & I-J-V-A-,
                                         I-J-V-A-, 27
                                                   27 I&N
                                                      I&N at
                                                          at 170 (quoting W-Y-U-,
                                                             170 (quoting W-Y-U-, 27
                                                                                  27 I&N
                                                                                     I&N Dec.
                                                                                         Dec. at
                                                                                              at 19); J-A-B- &
                                                                                                 19); J-A-B- &

                      I-J-V-A-, 27
                      I-J-V-A-, 27 I&N
                                   I&N at
                                       at 170 (noting that
                                          170 (noting that terminating
                                                           terminating proceedings
                                                                       proceedings upon
                                                                                   upon unilateral
                                                                                        unilateral motion
                                                                                                   motion may
                                                                                                          may be
                                                                                                              be

                      “inconsistent with
                      "inconsistent with [the
                                         [the IJ's]
                                              IJ’s] role
                                                    role in
                                                         in our
                                                            our adjudicative
                                                                adjudicative process.").
                                                                             process.”). In
                                                                                         In Matter
                                                                                            Matter of W-Y-U-, where
                                                                                                   of W-Y-U-, where the
                                                                                                                    the
                      respondent, who
                      respondent, who had
                                      had filed
                                          filed an
                                                an application
                                                   application for
                                                               for asylum
                                                                   asylum with
                                                                          with the
                                                                               the court,
                                                                                   court, opposed
                                                                                          opposed aa DHS
                                                                                                     DHS motion
                                                                                                         motion for
                                                                                                                for
                      administrative closure,
                      administrative closure, the
                                              the BIA
                                                  BIA recognized
                                                      recognized that
                                                                 that in
                                                                      in exercising
                                                                         exercising their
                                                                                    their administrative
                                                                                          administrative closure
                                                                                                         closure
                      authority an
                      authority    Immigration Judge
                                an Immigration Judge must
                                                     must consider
                                                          consider the
                                                                   the respondent's
                                                                       respondent’s "interest
                                                                                    “interest in
                                                                                              inhaving
                                                                                                 having[the]
                                                                                                        [the] case
                                                                                                              case

                      resolved on
                      resolved on the merits.” 27
                                  the merits." 27 I&N
                                                  I&N Dec.
                                                      Dec. at
                                                           at 18-19.
                                                              18-19. The BIA further
                                                                     The BIA further acknowledged that aa noncitizen
                                                                                     acknowledged that    noncitizen
              of 18




                      inremoval
                      in removal proceedings
                                 proceedingshas
                                             has aa right
                                                     right to
                                                           to seek
                                                              seek asylum
                                                                   asylum and
                                                                          and related
                                                                              related relief
                                                                                      relief and
                                                                                             and aa "right
                                                                                                    “right to
                                                                                                           to aa hearing
                                                                                                                 hearing on
                                                                                                                         on
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          Uploaded
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                   on: 06/09/2025 at
                                  at 06:08:55 PM (Eastern
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                           Case 1:25-cv-11571-JEK(Eastern Daylight
                                                          Daylight
                                                           DocumentTime) Base
                                                                         Base City:
                                                                   Time)13-6  City: CHE
                                                                                    CHE
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                      the merits
                      the merits of
                                 of [their]
                                     [their] claim."
                                             claim.” Id.
                                                     Id. at
                                                         at 19. The BIA
                                                            19. The BIA concluded
                                                                        concluded that
                                                                                  that these
                                                                                       these were
                                                                                             were persuasive
                                                                                                  persuasive reasons
                                                                                                             reasons for
                                                                                                                     for

                      the case
                      the case to
                               to proceed
                                  proceed and
                                          and be
                                              be resolved
                                                 resolved on
                                                          on the
                                                             the merits
                                                                 merits and
                                                                        and reversed
                                                                            reversed the
                                                                                     the Immigration
                                                                                         Immigration Judge's
                                                                                                     Judge’s grant of
                                                                                                             grant of
                      DHS's
                      DHS’s motion for administrative
                            motion for administrative closure.
                                                      closure. Id.
                                                               Id. at 20.22
                                                                   at 20.
                              Similarly, here,
                              Similarly, here, the
                                               the Court
                                                   Court should deny DHS's
                                                         should deny DHS’s motion
                                                                           motion given
                                                                                  given Respondent's
                                                                                        Respondent’s interest
                                                                                                     interest in
                                                                                                              in
                      having the
                      having the case resolved on
                                 case resolved on the
                                                  the merits
                                                      merits and
                                                             and his right to
                                                                 his right to be heard on
                                                                              be heard on his
                                                                                          his asylum, withholding of
                                                                                              asylum, withholding of
                      removal and
                      removal     withholding based
                              and withholding based on
                                                    on the
                                                       the Torture
                                                           Torture Convention
                                                                   Convention claim.
                                                                              claim. See
                                                                                     See W-Y-U-, 27 I&N
                                                                                         W-Y-U-, 27 I&N Dec.
                                                                                                        Dec. at
                                                                                                             at

                      19; H.N.
                      19; H.N. Ferreira,
                               Ferreira, 28
                                         28 I&N
                                            I&N Dec.
                                                Dec. at
                                                     at 769-70
                                                        769-70 (reversing
                                                               (reversing dismissal
                                                                          dismissal noting
                                                                                    noting the
                                                                                           the respondent's
                                                                                               respondent’s

                      “significant” interest
                      "significant" interest in
                                             in having
                                                having her
                                                       her Form
                                                           Form I-751
                                                                I-751 reviewed).
                                                                      reviewed). Indeed,
                                                                                 Indeed, the
                                                                                         the facts
                                                                                             facts of
                                                                                                   of this
                                                                                                      this case
                                                                                                           case are
                                                                                                                are

                      similar to
                      similar    unpublished BIA
                              to unpublished BIA decisions
                                                 decisions where
                                                           where the
                                                                 the BIA
                                                                     BIA has
                                                                         has sustained
                                                                             sustained respondents’ appeal of
                                                                                       respondents' appeal of aa DHS
                                                                                                                 DHS
                      motion to
                      motion to dismiss
                                dismiss in
                                        in light
                                           light of
                                                 of respondents'
                                                     respondents’ desire
                                                                  desire to
                                                                         to seek
                                                                            seek relief
                                                                                  relief before
                                                                                         before the
                                                                                                the immigration
                                                                                                    immigration court.
                                                                                                                court. See,
                                                                                                                       See,
                      e.g., Ex.
                      e.g., Ex. A,
                                A, G-C-D-,
                                   G-C-D-, AXXX
                                           AXXX XXX
                                                XXX 178 (BIA May
                                                    178 (BIA May 15, 2017) (unpublished)
                                                                 15, 2017) (unpublished) (sustaining
                                                                                         (sustaining appeal
                                                                                                     appeal
                      where respondents
                      where respondents wished
                                        wished to
                                               to have
                                                  have their
                                                       their applications
                                                             applications for
                                                                          for cancellation of removal
                                                                              cancellation of removal and asylum
                                                                                                      and asylum
                      adjudicated by
                      adjudicated by the
                                     the court);
                                         court); Ex.
                                                 Ex. B,
                                                     B, R-G-H-M-,
                                                        R-G-H-M-, AXXXXXX
                                                                  AXXXXXX 972
                                                                          972 (Aug.
                                                                              (Aug. 9,
                                                                                    9, 2017)
                                                                                       2017) (unpublished)
                                                                                             (unpublished)

                      (sustaining appeal
                      (sustaining appeal where
                                         where the
                                               the respondents
                                                   respondents wished
                                                               wished to
                                                                      to seek
                                                                         seek cancellation
                                                                              cancellation of
                                                                                           of removal,
                                                                                              removal, noting
                                                                                                       noting that
                                                                                                              that aa

                      respondent being
                      respondent being aa low
                                          low DHS
                                              DHS enforcement
                                                  enforcement priority
                                                              priority was
                                                                       was no
                                                                           no guarantee
                                                                              guarantee that
                                                                                        that she would remain
                                                                                             she would remain so
                                                                                                              so in
                                                                                                                 in
                      the future
                      the future and
                                 and was
                                     was not
                                         not aa sound
                                                sound basis
                                                      basis for
                                                            for terminating
                                                                terminating her
                                                                            her case
                                                                                case and
                                                                                     and denying
                                                                                         denying her
                                                                                                 her the
                                                                                                     the opportunity
                                                                                                         opportunity to
                                                                                                                     to

                      haveher
                      have her cancellation
                               cancellation claim
                                            claim adjudicated);
                                                  adjudicated); Ex.
                                                                Ex. C, AXXX )XXX XXX
                                                                    C, AXXX          (BIA Jan.
                                                                                 XXX (BIA Jan. 8,
                                                                                               8, 2024)
                                                                                                  2024)

                      (unpublished) (sustaining
                      (unpublished) (sustaining appeal
                                                appeal where
                                                       where the
                                                             the respondent
                                                                 respondent wanted
                                                                            wanted an adjudication on
                                                                                   an adjudication on their pending
                                                                                                      their pending
                      asylum application,
                      asylum application, noting
                                          noting that
                                                 that DHS's
                                                      DHS’s reason
                                                            reason for
                                                                   for dismissal
                                                                       dismissal to
                                                                                 to preserve
                                                                                    preserve limited
                                                                                             limited resources
                                                                                                     resources "is
                                                                                                               “is not
                                                                                                                   not aa

                      sufficient basis
                      sufficient basis to
                                       to terminate
                                          terminate these
                                                    these proceedings
                                                          proceedings over
                                                                      over the
                                                                           the objection
                                                                               objection of
                                                                                         of the
                                                                                            the respondent
                                                                                                respondent after DHS
                                                                                                           after DHS
                      filed aa Notice
                      filed    Notice to
                                      to Appear,
                                         Appear, and the respondent
                                                 and the respondent filed
                                                                    filed an application for
                                                                          an application     relief from
                                                                                         for relief from removal”).
                                                                                                         removal").
                      2. Respondent
                      2. Respondent Will
                                    Will Suffer Harm If
                                         Suffer Harm If Not
                                                        Not Able
                                                            Able to
                                                                 to Pursue Asylum, Withholding
                                                                    Pursue Asylum, Withholding of
                                                                                               of Removal
                                                                                                  Removal
                      and Withholding
                      and Withholding Based
                                      Based on
                                            on the
                                               the Torture
                                                   Torture Convention
                                                           Convention
              of 18




                      22 22 Matter
                            Matter of
                                   of W-Y-U-
                                      W-Y-U- was
                                               was partially
                                                   partially superseded  on other
                                                             superseded on  other grounds
                                                                                  grounds via
                                                                                          via the
                                                                                              the 2024
                                                                                                  2024 EOIR
                                                                                                        EOIR Rule,
                                                                                                              Rule,
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                       Efficient Case
                      Efficient    Case and
                                        and Docket
                                            Docket Management
                                                    Management in in Immigration
                                                                     Immigration Proceedings,
                                                                                  Proceedings, 89
                                                                                               89 Fed.
                                                                                                   Fed. Reg.
                                                                                                        Reg. 46742,
                                                                                                             46742, 46753
                                                                                                                    46753
                       (May    29, 2024).
                      (May 29, 2024).
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                                                                                  CHE
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                               Respondent plans
                               Respondent plans to
                                                to apply
                                                   apply for
                                                         for asylum,
                                                             asylum, withholding
                                                                     withholding of
                                                                                 of removal
                                                                                    removal and
                                                                                            and withholding
                                                                                                withholding based
                                                                                                            based on
                                                                                                                  on
                      the Torture
                      the Torture Convention
                                  Convention and wishes to
                                             and wishes to continue
                                                           continue to
                                                                    to pursue
                                                                       pursue this
                                                                              thisrelief.
                                                                                   relief. Forcing
                                                                                           Forcing the
                                                                                                   the Respondent
                                                                                                       Respondent to
                                                                                                                  to

                      re-start their
                      re-start their asylum
                                     asylum process
                                            process via
                                                    via Credible
                                                        Credible Fear
                                                                 Fear would
                                                                      would be
                                                                            be an
                                                                               an incredible
                                                                                  incredible waste
                                                                                             waste of
                                                                                                   of resources
                                                                                                      resources and
                                                                                                                and

                      severely harmful
                      severely harmful to
                                       to the
                                          the Respondent.
                                              Respondent. First,
                                                          First, he
                                                                 he would
                                                                    would have
                                                                          have to
                                                                               to remain
                                                                                  remain detained
                                                                                         detained until
                                                                                                  until his
                                                                                                        his credible
                                                                                                            credible

                      fear interview
                      fear interview was
                                     was to
                                         to be
                                            be scheduled.
                                               scheduled. Secondly, he will
                                                          Secondly, he will not have access
                                                                            not have access to
                                                                                            to counsel
                                                                                               counsel or
                                                                                                       or itit will
                                                                                                               will be
                                                                                                                    be

                      severely curtailed
                      severely curtailed if
                                         if he
                                            he remains
                                               remains in
                                                       in custody.
                                                          custody. In
                                                                   In addition,
                                                                      addition, fewer
                                                                                fewer rights
                                                                                      rights are
                                                                                             are afforded
                                                                                                 afforded to
                                                                                                          to individuals
                                                                                                             individuals

                      in the
                      in the CFI process than
                             CFI process than in
                                              in removal
                                                 removal proceedings,
                                                         proceedings, which
                                                                      which would
                                                                            would prejudice
                                                                                  prejudice the
                                                                                            the Respondent.
                                                                                                Respondent. See
                                                                                                            See
                      Matter of
                      Matter of E-R-M-
                                E-R-M- &
                                       & L-R-M-,
                                         L-R-M-, 25
                                                 25 I&N
                                                    I&N Dec.
                                                        Dec. 520,
                                                             520, 521
                                                                  521 n.1
                                                                      n.1 (BIA
                                                                          (BIA 2011)
                                                                               2011) (noting
                                                                                     (noting that
                                                                                             that respondents
                                                                                                  respondents in
                                                                                                              in

                      removal proceedings
                      removal proceedings have
                                          have “more
                                               "more rights
                                                     rights available to them”
                                                            available to them" than
                                                                               than in
                                                                                    in expedited removal
                                                                                       expedited removal
                      proceedings) compare,
                      proceedings) compare, e.g.,
                                            e.g., INA
                                                  INA §§ 240(b)(4),
                                                         240(b)(4), 88 C.F.R.
                                                                       C.F.R. §§
                                                                              §§ 1240.3,
                                                                                 1240.3, 1240.10(a),
                                                                                         1240.10(a), 1003.1(b)(3)
                                                                                                     1003.1(b)(3)

                      (rights in removal
                      (rights in         proceedings), with
                                 removal proceedings), with 88 C.F.R.
                                                               C.F.R. §§
                                                                      §§ 1003.42(c),
                                                                         1003.42(c), 1208.30(g)(2)(iv)(A)
                                                                                     1208.30(g)(2)(iv)(A) (limited
                                                                                                          (limited
                      rights in
                      rights in credible
                                credible fear
                                         fear process.)
                                              process.) As
                                                        As in
                                                           in Matter
                                                              Matter of
                                                                     of W-Y-U-,
                                                                        W-Y-U-, here
                                                                                here Respondent
                                                                                     Respondent seeks
                                                                                                seeks aa merits
                                                                                                         merits

                      adjudication from
                      adjudication fromthis
                                        this Court
                                             Court on
                                                   on his
                                                      his application
                                                          application for
                                                                      for relief,
                                                                          relief, which
                                                                                  which if
                                                                                        if granted
                                                                                           granted would
                                                                                                   would make
                                                                                                         make him
                                                                                                              him

                      “eligible for
                      "eligible     lawful status
                                for lawful status in the United
                                                  in the United States,”
                                                                States," whereas
                                                                         whereas dismissal
                                                                                 dismissal provides
                                                                                           provides him
                                                                                                    him no
                                                                                                        no legal
                                                                                                           legal status.
                                                                                                                 status.
                      Id. at
                      Id. at 19;
                             19; see also id.
                                 see also id. at
                                              at 20
                                                 20 (“An unreasonable delay
                                                    ("An unreasonable       in the
                                                                      delay in the resolution
                                                                                   resolution of
                                                                                              of the
                                                                                                 the proceedings
                                                                                                     proceedings may
                                                                                                                 may

                      operate to
                      operate to the
                                 the detriment
                                     detriment of [noncitizens] by
                                               of [noncitizens] by preventing
                                                                   preventing them
                                                                              them from
                                                                                   from obtaining
                                                                                        obtainingrelief
                                                                                                  relief that
                                                                                                         that can
                                                                                                              can

                      provide lawful
                      provide lawful status.
                                     status. .. .. . .”).
                                                      ").
                               Unlike in
                               Unlike in other
                                         other cases
                                               cases where
                                                     where the
                                                           the BIA
                                                               BIA has
                                                                   has considered
                                                                       considered DHS
                                                                                  DHS unilateral
                                                                                      unilateral motions
                                                                                                 motions to
                                                                                                         to dismiss,
                                                                                                            dismiss,

                      here the
                      here the prejudice
                               prejudice to
                                         to the
                                            the Respondent
                                                Respondent would
                                                           would be
                                                                 be immediate
                                                                    immediate and
                                                                              and extreme.
                                                                                  extreme. If
                                                                                           If the
                                                                                              the Court
                                                                                                  Court grants
                                                                                                        grants

                      dismissal, DHS
                      dismissal, DHS will
                                     will subject him to
                                          subject him to expedited
                                                         expedited removal,
                                                                   removal, likely
                                                                            likelyresulting
                                                                                   resulting in
                                                                                             in his
                                                                                                his swift
                                                                                                    swift deportation
                                                                                                          deportation

                      from the
                      from the United
                               United States with no
                                      States with no ability
                                                     ability to
                                                             to have
                                                                have his
                                                                     his meritorious
                                                                         meritorious claim
                                                                                     claim for
                                                                                           for relief heard in
                                                                                               relief heard in any
                                                                                                               any forum.
                                                                                                                   forum.

                      See, e.g.,
                      See, e.g., Matter
                                 Matter of
                                        of Andrade
                                           Andrade Jaso
                                                   Jaso &
                                                        & Carbajal Ayala, 27
                                                          Carbajal Ayala, 27 I&N
                                                                             I&N at
                                                                                 at 559
                                                                                    559 (upholding
                                                                                        (upholding IJ
                                                                                                   IJ grant
                                                                                                      grant of
                                                                                                            of DHS
                                                                                                               DHS

                      motion to
                      motion to dismiss
                                dismiss noting
                                        noting that
                                               that "[t]he
                                                    “[t]he respondents
                                                           respondents have
                                                                       have not
                                                                            not been
                                                                                been ordered removed, ....
                                                                                     ordered removed,   . . there
                                                                                                            there is no
                                                                                                                  is no
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                      indication that
                      indication that they
                                      they are
                                           are in
                                               in imminent
                                                  imminent danger
                                                           danger of
                                                                  of removal,"
                                                                     removal,” and
                                                                               and they
                                                                                   they could
                                                                                        could pursue
                                                                                              pursue relief
                                                                                                     relief in
                                                                                                            in the
                                                                                                               the

                      future if
                      future    DHS placed
                             if DHS placed them
                                           them into
                                                into new
                                                     new removal
                                                         removal proceedings).
                                                                 proceedings).
                             C. Even
                             C. Even When
                                     When Evaluated
                                          Evaluated Solely
                                                    Solely on
                                                           on Its
                                                              Its Stated
                                                                  Stated Basis,
                                                                         Basis, DHS's
                                                                                DHS’s Motion
                                                                                      Motion Must
                                                                                             Must Be
                                                                                                  Be Denied.
                                                                                                     Denied.

                             Even evaluating
                             Even evaluating DHS's
                                             DHS’s motion
                                                   motion solely
                                                          solely on
                                                                 on its
                                                                    its stated
                                                                        stated basis,
                                                                               basis, ifif this
                                                                                           this Court
                                                                                                Court conducts
                                                                                                      conducts "an
                                                                                                               “an

                      informed adjudication
                      informed              . . . based
                               adjudication ...   based on
                                                        on an
                                                           an evaluation
                                                              evaluation of the factors
                                                                         of the factors underlying
                                                                                        underlying [DHS’s]
                                                                                                   [DHS's] motion,”
                                                                                                           motion," G-
                                                                                                                    G-

                      N-C-, 22
                      N-C-, 22 I&N
                               I&N Dec.
                                   Dec. at
                                        at 284,
                                           284, that
                                                that motions
                                                     motions fails
                                                             fails on
                                                                   on its
                                                                      its own
                                                                          own terms
                                                                              terms and
                                                                                    and must
                                                                                        must be
                                                                                             be denied.
                                                                                                denied. See
                                                                                                        See Matter
                                                                                                            Matter of
                                                                                                                   of

                      Andrade Jaso
                      Andrade Jaso &
                                   & Carbajal Ayala, 27
                                     Carbajal Ayala, 27 I&N
                                                        I&N Dec.
                                                            Dec. at
                                                                 at 559
                                                                    559 (considering whether DHS's
                                                                        (considering whether DHS’s motion
                                                                                                   motion under
                                                                                                          under

                      88 C.F.R.
                         C.F.R. §§ 239.2(a)(7)
                                   239.2(a)(7) complied
                                               complied with
                                                        with that
                                                             that provision's
                                                                  provision’s requirements).
                                                                              requirements). The regulation underlying
                                                                                             The regulation underlying

                      DHS’s motion
                      DHS's motion allows
                                   allows DHS
                                          DHS to
                                              to seek
                                                 seek dismissal
                                                      dismissal where
                                                                where "[c
                                                                      “[c]ircumstances  of the
                                                                          ]ircumstances of the case
                                                                                               case have
                                                                                                    have changed
                                                                                                         changed

                      after the
                      after the notice
                                notice to
                                       to appear
                                          appear was
                                                 was issued
                                                     issued to
                                                            to such
                                                               such an
                                                                    an extent
                                                                       extent that
                                                                              that continuation
                                                                                   continuation is
                                                                                                is no
                                                                                                   no longer
                                                                                                      longer in
                                                                                                             in the
                                                                                                                the best
                                                                                                                    best

                      interest of
                      interest of the
                                  the government."
                                      government.” 88 C.F.R.
                                                      C.F.R. §§ 239.2(a)(7).
                                                                239.2(a)(7). This provision encompasses
                                                                             This provision encompasses aa case-specific
                                                                                                           case-specific

                      component—"circumstances
                      component- “circumstances of
                                                of the
                                                   the case"-
                                                       case”— and
                                                              and aa government-specific
                                                                     government-specific component-
                                                                                         component— "best
                                                                                                    “best

                      interest of
                      interest of the
                                  the government."
                                      government.” Id.
                                                   Id. Here,
                                                       Here, DHS
                                                             DHS has
                                                                 has failed
                                                                     failed to
                                                                            to establish
                                                                               establish that
                                                                                         that circumstances
                                                                                              circumstancesin
                                                                                                            in

                      Respondent’s case
                      Respondent's case have
                                        have changed
                                             changed since
                                                     since the NTA’s issuance
                                                           the NTA's issuance and
                                                                              and has
                                                                                  has separately
                                                                                      separately failed
                                                                                                 failed to
                                                                                                        to
                      demonstrate that
                      demonstrate that continuation
                                       continuation is
                                                    is no
                                                       no longer
                                                          longer in the government’s
                                                                 in the              best interest.
                                                                        government's best interest. Further,
                                                                                                    Further, DHS’s
                                                                                                             DHS's sole
                                                                                                                   sole
                      reason for
                      reason for requesting
                                 requesting dismissal
                                            dismissal is
                                                      is to
                                                         to pursue
                                                            pursue expedited
                                                                   expedited removal
                                                                             removal against
                                                                                     against Respondent,
                                                                                             Respondent, which
                                                                                                         which it
                                                                                                               it
                      cannot lawfully
                      cannot lawfully do
                                      do as
                                         as explained
                                            explained below.
                                                      below.

                              1. DHS
                              1. DHS Cannot Lawfully Pursue
                                     Cannot Lawfully Pursue Expedited
                                                            Expedited Removal Against Respondent
                                                                      Removal Against Respondent

                             DHS’s sole
                             DHS's      reason for
                                   sole reason for requesting
                                                   requesting dismissal
                                                              dismissal is
                                                                        is so that DHS
                                                                           so that DHS can
                                                                                       can pursue
                                                                                           pursue expedited removal
                                                                                                  expedited removal
                      against Respondent.
                      against Respondent. The
                                          The Court
                                              Court should
                                                    should deny
                                                           deny DHS’s
                                                                DHS's motion
                                                                      motion to
                                                                             to dismiss
                                                                                dismiss because
                                                                                        because DHS’s
                                                                                                DHS's intended
                                                                                                      intended
                      post-dismissal actions
                      post-dismissal actions are
                                             are unlawful
                                                 unlawful for
                                                          for at
                                                              at least
                                                                 least two
                                                                       two reasons.
                                                                           reasons. First,
                                                                                    First, subjecting
                                                                                           subjecting Respondent
                                                                                                      Respondent to
                                                                                                                 to

                      expedited removal
                      expedited removal would
                                        would violate
                                              violate Congress's
                                                      Congress’s carefully
                                                                 carefully crafted
                                                                           crafted statutory
                                                                                   statutory scheme
                                                                                             scheme for
                                                                                                    for processing
                                                                                                        processing

                      noncitizen applicants
                      noncitizen applicants for
                                            for admission.
                                                admission. INA
                                                           INA §§ 235(b)
                                                                  235(b) 10 provides DHS
                                                                         10 provides DHS with
                                                                                         with several
                                                                                              several choices
                                                                                                      choices for
                                                                                                              for
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                      how to
                      how to process
                             process aa noncitizen
                                        noncitizen whom
                                                   whom itit alleges
                                                             alleges is
                                                                     is an
                                                                        an inadmissible
                                                                           inadmissible applicant
                                                                                        applicant for
                                                                                                  for admission,
                                                                                                      admission, but
                                                                                                                 but there
                                                                                                                     there
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                                                                         Base  City:
                                                                                FiledCHE
                                                                                     CHE
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                      is no
                      is no statutory
                            statutory authority
                                      authority for
                                                for DHS
                                                    DHS to
                                                        to later
                                                           laterreverse
                                                                 reverse that
                                                                         that choice.
                                                                              choice. For
                                                                                      For certain
                                                                                          certain allegedly
                                                                                                  allegedly inadmissible
                                                                                                            inadmissible

                      noncitizens, DHS
                      noncitizens, DHS can
                                       can either
                                           either place them into
                                                  place them into expedited
                                                                  expedited removal
                                                                            removal under
                                                                                    under 88 U.S.C.
                                                                                             U.S.C. §§ 1225(b)(1)
                                                                                                       1225(b)(1) or
                                                                                                                  or
                      place them
                      place them into
                                 into full removal proceedings
                                      full removal proceedings under
                                                               under 88 U.S.C.
                                                                        U.S.C. §§ 1225(b)(2).
                                                                                  1225(b)(2). See Matter of
                                                                                              See Matter of E-R-M-
                                                                                                            E-R-M- &
                                                                                                                   &

                      L-R-M-, 25
                      L-R-M-, 25 I&N
                                 I&N Dec.
                                     Dec. at
                                          at 523
                                             523 (holding
                                                 (holding that “DHS has
                                                          that "DHS has discretion to put
                                                                        discretion to put [noncitizens]
                                                                                          [noncitizens] in
                                                                                                        in section
                                                                                                           section

                      240 removal
                      240 removal proceedings
                                  proceedings even though they
                                              even though they may
                                                               may also
                                                                   also be
                                                                        be subject
                                                                           subject to
                                                                                   to expedited
                                                                                      expedited removal
                                                                                                removal under
                                                                                                        under

                      section 235(b)(1)(A)(i)
                      section 235(b)(1)(A)(i) of
                                              of the
                                                 the Act");
                                                     Act”); Matter
                                                            Matter of
                                                                   of Cabrera-Fernandez,
                                                                      Cabrera-Fernandez, 28
                                                                                         28 I&N
                                                                                            I&N Dec.
                                                                                                Dec. 747,
                                                                                                     747, 748
                                                                                                          748 (BIA
                                                                                                              (BIA

                      2023). If
                      2023). If DHS
                                DHS at the time
                                    at the time of
                                                of initial
                                                   initial processing
                                                           processing of
                                                                      of the
                                                                         the individual
                                                                             individual makes
                                                                                        makes the
                                                                                              the choice
                                                                                                  choice to
                                                                                                         to use
                                                                                                            use its
                                                                                                                its INA
                                                                                                                    INA §§

                      235(b)(2) authority
                      235(b)(2) authority by
                                          by issuing
                                             issuing the
                                                     the noncitizen
                                                         noncitizen an
                                                                    an NTA,
                                                                       NTA, as
                                                                            as DHS
                                                                               DHS did
                                                                                   did in
                                                                                       in Respondent's
                                                                                          Respondent’s case,
                                                                                                       case, DHS
                                                                                                             DHS

                      has
                      has no authority to
                          no authority to later
                                          later reverse
                                                reverse that choice. Nor
                                                        that choice.     does DHS
                                                                     Nor does DHS point
                                                                                  point to any such
                                                                                        to any such authority
                                                                                                    authority in
                                                                                                              in their
                                                                                                                 their
                      motion to
                      motion to dismiss.
                                dismiss. The
                                         The Supreme Court’s interpretation
                                             Supreme Court's interpretation of INA §§ 235(b)
                                                                            of INA    235(b) in
                                                                                             in Jennings
                                                                                                Jennings v.
                                                                                                         v.

                      Rodriguez, 583
                      Rodriguez, 583 U.S.
                                     U.S. 281
                                          281 (2018),
                                              (2018), also
                                                      also supports
                                                           supports aareading
                                                                       reading of
                                                                               of the
                                                                                   the statute
                                                                                       statute that
                                                                                               that permits
                                                                                                    permits DHS
                                                                                                            DHS to
                                                                                                                to

                      subject any
                      subject any given
                                  given inadmissible
                                        inadmissible applicant for admission
                                                     applicant for admission to
                                                                             to one process or
                                                                                one process or the
                                                                                               the other,
                                                                                                   other, with
                                                                                                          with no
                                                                                                               no
                      mechanism for
                      mechanism for later
                                    later reversing
                                          reversing course.
                                                    course.

                             In Jennings,
                             In Jennings, the
                                          the Supreme Court differentiated
                                              Supreme Court differentiated between
                                                                           between (b)(1)
                                                                                   (b)(1) noncitizens
                                                                                          noncitizens and
                                                                                                      and (b)(2)
                                                                                                          (b)(2)
                      noncitizens.
                      noncitizens. The
                                   The Court
                                       Court observed
                                             observed that
                                                      that "applicants for admission
                                                           “applicants for admission fall
                                                                                     fall into
                                                                                          into one
                                                                                               one of
                                                                                                   of two
                                                                                                      two categories,
                                                                                                          categories,
                      those covered
                      those covered by
                                    by [INA
                                       [INA §235](b)(1)
                                            §235](b)(1) and
                                                        and those
                                                            those covered
                                                                  covered by [INA §§ 235](b)(2).
                                                                          by [INA    235](b)(2). [INA
                                                                                                 [INA §§
                      235](b)(2) ....
                      235](b)(2)   . . serves as aa catchall
                                       serves as    catchall provision
                                                             provision that
                                                                       that applies
                                                                            applies to
                                                                                    to all
                                                                                       all applicants
                                                                                           applicants for
                                                                                                      for admission
                                                                                                          admission not
                                                                                                                    not

                      covered by
                      covered by [INA
                                 [INA §§ 235[(b)(1)."
                                         235[(b)(1).” Id.
                                                      Id. at
                                                          at 287-88.
                                                             287–88. Indeed,
                                                                     Indeed, the
                                                                             the statute
                                                                                 statute itself
                                                                                         itself states
                                                                                                states that
                                                                                                       that INA
                                                                                                            INA §§

                      235(b)(2) applies                                                                                   3
                      235(b)(2) applies to
                                        to applicants
                                           applicants for
                                                      for admission
                                                          admission “to
                                                                    "to whom paragraph [(b)](1)"
                                                                        whom paragraph [(b)](1)” does
                                                                                                 does not
                                                                                                      not apply.
                                                                                                          apply.3
                      Here,
                      Here, because
                            because DHS
                                    DHS has
                                        has elected
                                            elected to
                                                    to commence
                                                       commence removal
                                                                removal proceedings
                                                                        proceedings in
                                                                                    in Respondent's
                                                                                       Respondent’s case,
                                                                                                    case,

                      paragraph (b)(1)
                      paragraph (b)(1) does
                                       does not
                                            not apply.
                                                apply. Similarly,
                                                       Similarly, aa number
                                                                     number of provisions in
                                                                            of provisions    the INA
                                                                                          in the INA describe
                                                                                                     describe INA
                                                                                                              INA §§
                      235(b)(2) noncitizens
                      235(b)(2) noncitizens as
                                            as those
                                               those "to
                                                     “to whom
                                                         whomproceedings
                                                              proceedings under
                                                                          under [INA
                                                                                [INA §§ 240]
                                                                                        240] are
                                                                                             are ...
                                                                                                 . . . initiated
                                                                                                       initiated at
                                                                                                                 at the
                                                                                                                    the
              of 18




                        INA §§ 235(b)(2)(B)(ii);
                      33INA    235(b)(2)(B)(ii); accord
                                                 accord Innovation
                                                        Innovation L.
                                                                   L. Lab
                                                                      Lab v.
                                                                          v. Wolf,
                                                                             Wolf, 951
                                                                                   951 F.3d
                                                                                       F.3d 1073,
                                                                                            1073, 1083 (9th Cir.
                                                                                                  1083 (9th Cir. 2020),
                                                                                                                 2020),
          of 18




                      vacated and
                      vacated and remanded
                                  remanded sub
                                            sub nom.
                                                nom. Mayorkas
                                                     Mayorkas v.
                                                               v. Innovation
                                                                  Innovation L.
                                                                             L. Lab,
                                                                                 Lab, 141 S. Ct.
                                                                                      141 S. Ct. 2842
                                                                                                 2842 (2021),
                                                                                                       (2021), and
                                                                                                               and
       - 11




                      vacated as moot sub nom. Innovation L. Lab v. Mayorkas,  5 F.4th 1099  (9th Cir. 2021).
                      vacated as moot sub nom. Innovation L. Lab v. Mayorkas, 5 F.4th 1099 (9th Cir. 2021).
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                          Case 1:25-cv-11571-JEK (Eastern Daylight
                                                          Daylight
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                                                                   Time)  Base City:
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                                                                                       06/13/25                             Page 12 of 18




                      time of
                      time of such
                              such [noncitizen's]  arrival.”4 This
                                    [noncitizen’s] arrival."4 This language
                                                                   language makes
                                                                            makes clear
                                                                                  clear that
                                                                                        that Congress
                                                                                             Congress understood
                                                                                                      understood that
                                                                                                                 that

                      DHS’s processing
                      DHS's processing decision
                                       decision for
                                                for aa noncitizen
                                                       noncitizen applicant
                                                                  applicant for
                                                                            for admission-whether
                                                                                admission—whether to
                                                                                                  to proceed
                                                                                                     proceed with
                                                                                                             with

                      (b)(1) or
                      (b)(1) or (b)(2)-would
                                (b)(2)—would occur
                                             occur at the time
                                                   at the time of the noncitizen's
                                                               of the noncitizen’s arrival
                                                                                   arrival or
                                                                                           or initial
                                                                                              initial apprehension, not at
                                                                                                      apprehension, not at
                      some other
                      some other point
                                 point months
                                       months or
                                              or years
                                                 years later.
                                                       later.

                                In
                                In aa 2003 decision, the
                                      2003 decision, the U.S. District Court
                                                         U.S. District Court for
                                                                             for the Eastern District
                                                                                 the Eastern          of Michigan
                                                                                             District of Michigan

                      questioned DHS's
                      questioned DHS’s authority
                                       authority to
                                                 to use
                                                    use expedited
                                                        expedited removal
                                                                  removal against
                                                                          against noncitizens
                                                                                  noncitizens who
                                                                                              who had
                                                                                                  had been
                                                                                                      been paroled
                                                                                                           paroled

                      into the
                      into the United
                               United States
                                      States at
                                             at some earlier point,
                                                some earlier point, concluding
                                                                    concluding that
                                                                               that the
                                                                                    the government
                                                                                        government had
                                                                                                   had "not
                                                                                                       “not provided
                                                                                                            provided

                      any authority
                      any authority to
                                    to show that expedited
                                       show that expedited removal
                                                           removal applies
                                                                   applies to
                                                                           to [noncitizens] who are
                                                                              [noncitizens] who are ‘arriving
                                                                                                    'arriving aliens’
                                                                                                              aliens'
                      based solely
                      based        on the
                            solely on the entry
                                          entry fiction
                                                fiction doctrine
                                                        doctrine and who have
                                                                 and who have been
                                                                              been residing
                                                                                   residing in
                                                                                            in the
                                                                                               the interior of the
                                                                                                   interior of the United
                                                                                                                   United

                      States for
                      States for some time.” Am
                                 some time." Am.-Arab   Anti-Discrimination Comm.
                                                .- Arab Anti-Discrimination Comm. v.
                                                                                  v. Ashcroft,
                                                                                     Ashcroft, 272
                                                                                               272 F.
                                                                                                   F. Supp.
                                                                                                      Supp. 2d
                                                                                                            2d 650,
                                                                                                               650,

                      667-68 (E.D.
                      667-68 (E.D. Mich.
                                   Mich. 2003).
                                         2003). Second,
                                                Second, subjecting
                                                        subjecting Respondent
                                                                   Respondent to
                                                                              to expedited removal would
                                                                                 expedited removal would be
                                                                                                         be

                      unlawful because
                      unlawful because it would violate
                                       it would violate the
                                                        the long-held
                                                            long-held doctrine
                                                                      doctrine that
                                                                               that new
                                                                                    new rules
                                                                                        rules may
                                                                                              may not
                                                                                                  not be
                                                                                                      be applied
                                                                                                         applied
                      retroactively in
                      retroactively    the absence
                                    in the absence of
                                                   of aa clear
                                                         clear congressional
                                                               congressional grant
                                                                             grant of retroactive rulemaking
                                                                                   of retroactive rulemaking authority.
                                                                                                             authority.
                      Bowen v.
                      Bowen v. Georgetown
                               Georgetown Univ.
                                          Univ. Hosp.,
                                                Hosp., 488
                                                       488 U.S.
                                                           U.S. 204,
                                                                204, 208
                                                                     208 (1988).
                                                                         (1988).

                               In this
                               In this case,
                                       case, DHS
                                             DHS purports
                                                 purports to
                                                          to have
                                                             have the
                                                                  the authority
                                                                      authority to
                                                                                to subject Respondent to
                                                                                   subject Respondent to expedited
                                                                                                         expedited
                      removal pursuant
                      removal pursuant to
                                       to the
                                          the January
                                              January 24,
                                                      24, 2025
                                                          2025 Federal
                                                               Federal Register Notice expanding
                                                                       Register Notice expanding expedited removal
                                                                                                 expedited removal
                      to its
                      to its full
                             full legislative
                                  legislative scope.
                                              scope. DHS,
                                                     DHS, Designating
                                                          Designating Aliens
                                                                      Aliens for
                                                                             for Expedited
                                                                                 Expedited Removal,
                                                                                           Removal, 90
                                                                                                    90 Fed.
                                                                                                       Fed. Reg.
                                                                                                            Reg. 8139
                                                                                                                 8139

                      (Jan. 24,
                      (Jan. 24, 2025).
                                2025). While
                                       While Congress
                                             Congress granted
                                                      granted DHS
                                                              DHS the
                                                                  the authority
                                                                      authority to
                                                                                to determine
                                                                                   determine the
                                                                                             the scope
                                                                                                 scope of
                                                                                                       of expedited
                                                                                                          expedited




                      44 44 See, e.g., INA
                            See, e.g., INA §§ 240B(a)(4)
                                                 240B(a)(4) (referring
                                                                  (referring toto aa noncitizen
                                                                                     noncitizen "who
                                                                                                   “who is  is arriving
                                                                                                               arriving ...
                                                                                                                          . . . and
                                                                                                                                and with
                                                                                                                                     with respect
                                                                                                                                            respect to
                                                                                                                                                     to
                       whom     proceedings      under   section     1229a   of  this  title are . . . initiated   at the
                       whom proceedings under section 1229a of this title are ... initiated at the time of such alien's    time   of  such   alien’s
                       arrival” (emphasis
                      arrival"    (emphasis added));
                                                added)); INAINA §§ 212(a)(9)(A)(i)
                                                                       212(a)(9)(A)(i) (making
                                                                                            (making inadmissible
                                                                                                        inadmissible certain
                                                                                                                         certainnoncitizens
                                                                                                                                    noncitizens
                      "ordered removed under [INA § 235(b)(1)] or at the end of proceedings under [INA §§ 240]
                       “ordered     removed     under   [INA      §  235(b)(1)]   or  at  the  end  of  proceedings      under    [INA      240]
                       initiated upon
                      initiated    upon the
                                          the [noncitizen's]
                                               [noncitizen’s] arrival");
                                                                    arrival”); INA
                                                                                INA §§ 241(b)(1)(A)
                                                                                           241(b)(1)(A) ("[a(“[a noncitizen]
                                                                                                                  noncitizen] who who arrives
                                                                                                                                         arrives at
                                                                                                                                                  at the
                                                                                                                                                     the
                       United States
                      United     States and
                                          and with
                                                with respect
                                                      respect to  to whom
                                                                      whom proceedings
                                                                              proceedings under under[INA
                                                                                                        [INA §§ 240]
                                                                                                                   240] of
                                                                                                                         of this
                                                                                                                              this title
                                                                                                                                   title were
                                                                                                                                         were
                       initiated   at the  time  of  such   [noncitizen’s]      arrival”);    INA    § 241(c)(1)    (“[A
                      initiated at the time of such [noncitizen's] arrival"); INA § 241(c)(1) ("[A noncitizen] arriving    noncitizen]     arriving atat
              of 18




                      aa port
                          port of
                               of entry
                                   entry ofof the
                                              the United
                                                   United States
                                                               States who
                                                                        who isis ordered
                                                                                 ordered removed
                                                                                             removed either
                                                                                                         either without
                                                                                                                 without aa hearing       under [INA
                                                                                                                                hearing under     [INA
          of 18




                       §   235(b)(1)   or §  235(c)]   or pursuant       to proceedings      under    [INA    § 240]
                      § 235(b)(1) or § 235(c)] or pursuant to proceedings under [INA § 240] initiated at the time of   initiated   at  the time   of
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                       such [noncitizen's]
                      such    [noncitizen’s] arrival.
                                                 arrival. ..... .”).
                                                                ").
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                                  at 06:08:55    (Eastern Daylight
                                              PM (Eastern
                          Case 1:25-cv-11571-JEK          Daylight
                                                          Document Time)13-6
                                                                   Time) Base City:
                                                                         Base City:
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                      removal up
                      removal up to
                                 tothe
                                    the statutory
                                        statutory maximum,
                                                  maximum, see
                                                           see INA
                                                               INA §§ 235(b)(1)(A)(iii)(I),
                                                                      235(b)(1)(A)(iii)(I), itit did
                                                                                                 did not
                                                                                                     not grant
                                                                                                         grant DHS
                                                                                                               DHS the
                                                                                                                   the

                      authority to
                      authority to apply new expedited
                                   apply new expedited removal
                                                       removal designations retroactively. The
                                                               designations retroactively. The Supreme
                                                                                               Supreme Court
                                                                                                       Court has
                                                                                                             has

                      longrecognized
                      long recognized that
                                      that "a
                                           “a statutory
                                              statutory grant
                                                        grant of
                                                              of legislative
                                                                 legislative rulemaking
                                                                             rulemaking authority
                                                                                        authority will
                                                                                                  will not,
                                                                                                       not, as
                                                                                                            as aa general
                                                                                                                  general

                      matter, be
                      matter, be understood
                                 understood to
                                            to encompass the power
                                               encompass the power to
                                                                   to promulgate
                                                                      promulgate retroactive rules unless
                                                                                 retroactive rules unless that
                                                                                                          that power
                                                                                                               power
                      is conveyed
                      is          by Congress
                         conveyed by Congress in
                                              in express terms.” Bowen,
                                                 express terms." Bowen, 488
                                                                        488 U.S.
                                                                            U.S. at
                                                                                 at 208.
                                                                                    208. To
                                                                                         To do
                                                                                            do so
                                                                                               so would
                                                                                                  would add
                                                                                                        add “new
                                                                                                            "new
                      legal consequences
                      legal consequences to
                                         to events
                                            events completed
                                                   completed [prior
                                                             [prior to
                                                                    to the
                                                                       the expansion].”
                                                                           expansion]." See
                                                                                        See Landgraf
                                                                                            Landgraf v.
                                                                                                     v. USI
                                                                                                        USI Film
                                                                                                            Film
                      Prods., 511
                      Prods.,     U.S. 244,
                              511 U.S. 244, 269-70
                                            269-70 (1994). Because Congress
                                                   (1994). Because Congress did
                                                                            did not
                                                                                not grant DHS the
                                                                                    grant DHS the power
                                                                                                  power to
                                                                                                        to

                      retroactively expand
                      retroactively expand expedited
                                           expedited removal, DHS cannot
                                                     removal, DHS cannot subject the Respondent,
                                                                         subject the Respondent, whose
                                                                                                 whose removal
                                                                                                       removal

                       proceedings were
                      proceedings  were initiated
                                        initiated before
                                                  before the
                                                         the January
                                                             January 2025
                                                                     2025 expansion,
                                                                          expansion, to
                                                                                     to expedited removal; as
                                                                                        expedited removal; as
                      described above,
                      described above, doing
                                       doing so would cause
                                             so would       him significant
                                                      cause him             prejudice.
                                                                significant prejudice.



                             2.
                             2. DHS
                                DHS Has
                                    Has Failed
                                        Failed to
                                               to Show
                                                  Show How
                                                       How Circumstances
                                                           Circumstances of
                                                                         of This
                                                                            This Case
                                                                                 Case Have
                                                                                      Have Changed
                                                                                           Changed Since
                                                                                                   Since
                      the NTA's
                      the NTA’s Issuance.
                                Issuance.

                             Further, dismissal
                             Further, dismissal is
                                                is inappropriate
                                                   inappropriate because
                                                                 because the
                                                                         the "[c]ircumstances
                                                                             “[c]ircumstances of
                                                                                              of the
                                                                                                 the case"
                                                                                                     case” have
                                                                                                           have not
                                                                                                                not

                      changed. 88 C.F.R.
                      changed.    C.F.R. §§ 239.2(a)(7).
                                            239.2(a)(7). DHS's
                                                         DHS’s motion
                                                               motion does
                                                                      does not
                                                                           not even
                                                                               even attempt
                                                                                    attempt to
                                                                                            to articulate
                                                                                               articulate how
                                                                                                          how
                      circumstances in
                      circumstances in this
                                       this case
                                            case have
                                                 have changed
                                                      changed since
                                                              since the
                                                                    the issuance
                                                                        issuance of
                                                                                 of Respondent's
                                                                                    Respondent’s NTA.
                                                                                                 NTA. In
                                                                                                      In fact, DHS’s
                                                                                                         fact, DHS's
                      motion references
                      motion references no
                                        no facts
                                           facts specific
                                                 specific to
                                                          to this
                                                             this case
                                                                  case whatsoever.
                                                                       whatsoever. Contrary
                                                                                   Contrary to
                                                                                            to DHS’s
                                                                                               DHS's conclusory
                                                                                                     conclusory

                      statement that
                      statement that circumstances have changed,
                                     circumstances have changed, in
                                                                 in fact
                                                                    fact no
                                                                         no relevant
                                                                            relevant circumstances
                                                                                     circumstances have
                                                                                                   have changed with
                                                                                                        changed with

                      respect to
                      respect to Respondent's
                                 Respondent’s case-he
                                              case—heremains
                                                      remains eligible
                                                              eligible for
                                                                       for asylum,
                                                                           asylum, withholding
                                                                                   withholding of
                                                                                               of removal
                                                                                                  removal and
                                                                                                          and

                      withholding based
                      withholding based on
                                        on the
                                           the Torture
                                               Torture Convention
                                                       Convention and
                                                                  and continues
                                                                      continues to
                                                                                to desire
                                                                                   desire an
                                                                                          an adjudication
                                                                                             adjudication on
                                                                                                          on his
                                                                                                             his

                      claim on
                      claim on the
                               the merits
                                   merits by
                                          by this
                                             this Court.
                                                  Court. See
                                                         See supra
                                                             supra Section
                                                                   Section II.
                                                                           II. B. Respondent has
                                                                               B. Respondent has been
                                                                                                 been waiting
                                                                                                      waiting for
                                                                                                              for an
                                                                                                                  an
                      adjudication of
                      adjudication of his
                                      his asylum,
                                          asylum, withholding
                                                  withholding of
                                                              of removal
                                                                 removal and
                                                                         and withholding
                                                                             withholding based
                                                                                         based on the Torture
                                                                                               on the Torture

                      Convention that
                      Convention that only
                                      only this
                                           this Court
                                                Court has
                                                      has jurisdiction
                                                          jurisdiction to
                                                                       to grant,
                                                                          grant, for
                                                                                 for over
                                                                                     over aa year.
                                                                                             year. Though
                                                                                                   Though DHS
                                                                                                          DHS does
                                                                                                              does not
                                                                                                                   not
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                      articulate the
                      articulate the alleged
                                     alleged changed
                                             changed circumstance
                                                     circumstance in
                                                                  in its motion, presumably
                                                                     its motion, presumably DHS
                                                                                            DHS would
                                                                                                would argue
                                                                                                      argue that
                                                                                                            that its
                                                                                                                 its
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                      new desire
                      new        to pursue
                          desire to pursue expedited removal against
                                           expedited removal against Respondent
                                                                     Respondent is
                                                                                is aa change
                                                                                      change in
                                                                                             in circumstances.
                                                                                                circumstances. But
                                                                                                               But
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EOIR — 13
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                          Case 1:25-cv-11571-JEK (Eastern Daylight
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                      even if
                      even if DHS's
                              DHS’s immigration
                                    immigration enforcement
                                                enforcement policy
                                                            policy may
                                                                   may have
                                                                       have changed
                                                                            changed since
                                                                                    since the
                                                                                          the NTA
                                                                                              NTA was
                                                                                                  was issued,
                                                                                                       issued, aa
                      political change
                      political change underlying
                                       underlying the
                                                  the government's
                                                      government’s enforcement
                                                                   enforcement policy
                                                                               policy is
                                                                                      is insufficient
                                                                                         insufficient to
                                                                                                      to show
                                                                                                         show a
                                                                                                              a

                      changed circumstance
                      changed circumstance in “the case,”
                                           in "the        meaning this
                                                   case," meaning this specific case of
                                                                       specific case of Respondent
                                                                                        Respondent Mr.
                                                                                                   Mr. Oliveira
                                                                                                       Oliveira
                      Gomes, considering
                      Gomes, considering his
                                         his individualized
                                             individualized circumstances
                                                            circumstances and
                                                                          and facts.
                                                                              facts. See
                                                                                     See also
                                                                                         also Andrade
                                                                                              Andrade Jaso
                                                                                                      Jaso &
                                                                                                           &

                      Carbajal Ayala,
                      Carbajal Ayala, 27
                                      27 I&N Dec. at
                                         I&N Dec. at 559
                                                     559 (concluding
                                                         (concluding that
                                                                     that the
                                                                          the respondent’s post NTA
                                                                              respondent's post NTA behavior
                                                                                                    behavior

                      constituted aa change
                      constituted    change in
                                            in circumstances
                                               circumstances for purposes of
                                                             for purposes of 88 C.F.R.
                                                                                C.F.R. §§ 239.2(a)(7)).
                                                                                          239.2(a)(7)). In
                                                                                                        In fact,
                                                                                                           fact, when
                                                                                                                 when
                      pushed for
                      pushed for further
                                 further explanation
                                         explanation at
                                                     at the
                                                        the Respondent’s hearing OPLA
                                                            Respondent's hearing OPLA offered no further
                                                                                      offered no further context
                                                                                                         context or
                                                                                                                 or

                      information.
                      information. Because
                                   Because DHS has not
                                           DHS has     shown that
                                                   not shown that circumstances in this
                                                                  circumstances in this case
                                                                                        case have
                                                                                             have changed since the
                                                                                                  changed since the

                      issuance of
                      issuance    the NTA,
                               of the NTA, the
                                           the Court
                                               Court should deny DHS's
                                                     should deny DHS’s motion
                                                                       motion to
                                                                              to dismiss.
                                                                                 dismiss.

                              3. DHS
                              3. DHS Has
                                     Has Failed
                                         Failed to
                                                to Show
                                                   Show Why
                                                        Why Continuation
                                                            Continuation Is
                                                                         Is Not in the
                                                                            Not in the “Best
                                                                                       "Best Interest
                                                                                             Interest of
                                                                                                      of the
                                                                                                         the
                      Government.”
                      Government."

                              Even if
                              Even    DHS had
                                   if DHS had articulated
                                              articulated changed
                                                          changed circumstances
                                                                  circumstances in
                                                                                in this
                                                                                   this case
                                                                                        case since
                                                                                             since the
                                                                                                   the NTA’s
                                                                                                       NTA's
                      issuance, which
                      issuance, whichitit has
                                          has not,
                                              not, DHS
                                                   DHS has
                                                       has failed
                                                           failed to
                                                                  to show
                                                                     show why
                                                                          why continuation
                                                                              continuation isis not
                                                                                                not in
                                                                                                    in the
                                                                                                       the "best
                                                                                                           “best interest
                                                                                                                 interest of
                                                                                                                          of

                      the government."
                      the government.” 88 C.F.R.
                                          C.F.R. §§ 239.2(a)(7).
                                                    239.2(a)(7). DHS's
                                                                 DHS’s motion
                                                                       motion fails
                                                                              fails to
                                                                                    to consider
                                                                                       consider key
                                                                                                key factors
                                                                                                    factors necessary
                                                                                                            necessary to
                                                                                                                      to

                      determining the
                      determining the government's
                                      government’s best
                                                   best interest
                                                        interest in
                                                                 in an
                                                                    an individual
                                                                       individual case,
                                                                                  case, including
                                                                                        including Respondent's
                                                                                                  Respondent’s

                      individual circumstances,
                      individual circumstances, Respondent’s
                                                Respondent's position
                                                             position on
                                                                      on dismissal,
                                                                         dismissal, and
                                                                                    and the
                                                                                        the efficient
                                                                                            efficient use
                                                                                                      use of
                                                                                                          of limited
                                                                                                             limited
                      government resources.
                      government resources. Consideration
                                            Consideration of these factors
                                                          of these factors compels
                                                                           compels the
                                                                                   the conclusion
                                                                                       conclusion that
                                                                                                  that this
                                                                                                       this case
                                                                                                            case
                      should proceed
                      should proceed to
                                     to aa merits
                                           merits determination,
                                                  determination, as
                                                                 as Respondent
                                                                    Respondent desires.
                                                                               desires.

                              a. The
                              a. The Respondent's
                                     Respondent’s Individual
                                                  Individual Circumstances
                                                             Circumstances and
                                                                           and Position
                                                                               Position on
                                                                                        on Dismissal
                                                                                           Dismissal
                             Determining whether
                             Determining whether dismissal
                                                 dismissal of
                                                           of any
                                                              any given
                                                                  given case
                                                                        case is
                                                                             is in
                                                                                in the
                                                                                   the government's
                                                                                       government’s best
                                                                                                    best interest
                                                                                                         interest
                      necessarily requires
                      necessarily requires DHS
                                           DHS to
                                               to reach
                                                  reach out
                                                        out to
                                                            to the
                                                               the respondent,
                                                                   respondent, as
                                                                               asrequired
                                                                                  required by
                                                                                           by the
                                                                                              the ICPM,
                                                                                                  ICPM, prior
                                                                                                        prior to
                                                                                                              to filing
                                                                                                                 filing

                      for dismissal
                      for dismissal in
                                    in order
                                       order to
                                             to understand
                                                understand the
                                                           the respondent's
                                                               respondent’s viewpoint
                                                                            viewpoint and
                                                                                      and reasons
                                                                                          reasons why
                                                                                                  why the
                                                                                                      the respondent
                                                                                                          respondent

                      opposes dismissal.
                      opposes dismissal. An
                                         An individual's
                                            individual’s interest
                                                         interest in having their
                                                                  in having their claim
                                                                                  claim for permanent immigration
                                                                                        for permanent immigration
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                      relief adjudicated
                      relief adjudicated on the merits
                                         on the merits must
                                                       must inform the government's
                                                            inform the government’s view
                                                                                    view of whether dismissal
                                                                                         of whether dismissal is
                                                                                                              is in
                                                                                                                 in the
                                                                                                                    the
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                      government’s best
                      government's best interest.
                                        interest. Moreover, what is
                                                  Moreover, what is in
                                                                    in the government’s best
                                                                       the government's best interest necessarily
                                                                                             interest necessarily
                      includes knowing
                      includes knowing the respondent’s current
                                       the respondent's current case circumstances and
                                                                case circumstances and how
                                                                                       how aa strategy
                                                                                              strategy one
                                                                                                       one way
                                                                                                           way or
                                                                                                               or the
                                                                                                                  the

                      other impacts
                      other impacts lawful
                                    lawfulpermanent
                                           permanent residents
                                                     residents and
                                                               and U.S.
                                                                   U.S. citizens in the
                                                                        citizens in the respondent's
                                                                                        respondent’s life.
                                                                                                     life. Thus,
                                                                                                           Thus,
                      OPLA’s failure
                      OPLA's failure to
                                     to seek
                                        seek Respondent's
                                             Respondent’s position
                                                          position before
                                                                   before filing
                                                                          filing this
                                                                                 this motion
                                                                                      motion itself
                                                                                             itself defeats
                                                                                                    defeats their
                                                                                                            their
                      assertion that
                      assertion that dismissal
                                     dismissal is
                                               is in
                                                  in the
                                                     the government's
                                                         government’s best
                                                                      best interest,
                                                                           interest, and
                                                                                     and therefore
                                                                                         therefore the
                                                                                                   the motion
                                                                                                       motion must
                                                                                                              must be
                                                                                                                   be

                      denied.
                      denied.

                             b. Efficient
                             b. Efficient Use
                                          Use of Limited Government
                                              of Limited Government Resources
                                                                    Resources

                             DHS has
                             DHS has not
                                     not established
                                         established that
                                                     that dismissal
                                                          dismissal of this case
                                                                    of this case is
                                                                                 is in
                                                                                    in the
                                                                                       the government’s
                                                                                           government's best
                                                                                                        best interest
                                                                                                             interest

                      because it has
                      because it     failed to
                                 has failed to address
                                               address aa key
                                                          key factor,
                                                              factor, the
                                                                      the efficient
                                                                          efficient use
                                                                                    use of limited government
                                                                                        of limited government resources.
                                                                                                              resources. In
                                                                                                                         In
                      this case,
                      this case, Respondent
                                 Respondent wishes
                                            wishes to
                                                   to pursue
                                                      pursue relief
                                                             relief before
                                                                    before the
                                                                           the Court,
                                                                               Court, including
                                                                                      including relief
                                                                                                relief that
                                                                                                       that only
                                                                                                            only the
                                                                                                                 the

                      immigration court
                      immigration       has authority
                                  court has           to grant.
                                            authority to        Dismissing these
                                                         grant. Dismissing these proceedings
                                                                                 proceedings over
                                                                                             over Respondent’s
                                                                                                  Respondent's
                      objection would
                      objection would waste
                                      waste rather
                                            rather than
                                                   than conserve
                                                        conserve government resources. If
                                                                 government resources.    this case
                                                                                       If this case is
                                                                                                    is dismissed,
                                                                                                       dismissed,
                      Respondent will
                      Respondent will likely appeal the
                                      likely appeal the dismissal.
                                                        dismissal. DHS
                                                                   DHS will
                                                                       will then
                                                                            then have
                                                                                 have to
                                                                                      to invest
                                                                                         invest considerable
                                                                                                considerable resources
                                                                                                             resources

                      in defending
                      in defending its
                                    its decision
                                        decision to
                                                 to dismiss
                                                    dismiss these
                                                            these proceedings.
                                                                  proceedings. Likewise,
                                                                               Likewise, the
                                                                                         the Department
                                                                                             Department of
                                                                                                        of Justice
                                                                                                           Justice will
                                                                                                                   will

                      expend considerable
                      expend considerable resources
                                          resources if this case
                                                    if this case is
                                                                 is dismissed.
                                                                    dismissed. The
                                                                               The BIA will expend
                                                                                   BIA will        resources to
                                                                                            expend resources to issue
                                                                                                                issue aa
                      decision on
                      decision on appeal.
                                  appeal. The
                                          The case
                                              case may
                                                   may then
                                                       then be
                                                            beremanded
                                                               remanded to
                                                                        to this
                                                                           this Court,
                                                                                Court, restoring
                                                                                       restoring Respondent
                                                                                                 Respondent to
                                                                                                            to his
                                                                                                               his

                      current position
                      current position before
                                       before the
                                              the Court,
                                                  Court, after the passage
                                                         after the passage of
                                                                           of time
                                                                              time and
                                                                                   and expenditure
                                                                                       expenditure of
                                                                                                   of considerable
                                                                                                      considerable

                      government resources.
                      government resources. In
                                            In addition,
                                               addition, his
                                                         his unlawful
                                                             unlawful detention
                                                                      detention despite his compliance
                                                                                despite his compliance with
                                                                                                       with

                      immigration and
                      immigration and criminal
                                      criminal laws
                                               laws further
                                                    further extends
                                                            extends the
                                                                    the financial
                                                                        financial burden
                                                                                  burden on
                                                                                         on the
                                                                                            the public.
                                                                                                public. Particularly,
                                                                                                        Particularly, if
                                                                                                                      if

                      the Respondent
                      the Respondent appeals.
                                     appeals. If
                                              If this
                                                 this case
                                                      case is
                                                           is dismissed
                                                              dismissed and
                                                                        and Respondent
                                                                            Respondent is placed in
                                                                                       is placed in expedited
                                                                                                    expedited

                      removal, Respondent
                      removal, Respondent will
                                          willpursue
                                               pursue asylum
                                                      asylum through
                                                             through the
                                                                     the Credible
                                                                         Credible Fear
                                                                                  Fearprocess,
                                                                                       process, requiring
                                                                                                requiring the
                                                                                                          the use
                                                                                                              use of
                                                                                                                  of

                      more government
                      more government resources
                                      resources to
                                                to adjudicate
                                                   adjudicate the
                                                              the claim in another
                                                                  claim in another forum,
                                                                                   forum, which
                                                                                          which will
                                                                                                will ultimately result
                                                                                                     ultimately result
                      in the
                      in the case returning to
                             case returning to this
                                               this Court
                                                    Court for
                                                          for an
                                                              an asylum
                                                                 asylum adjudication.
                                                                        adjudication. This
                                                                                      This process would result
                                                                                           process would result in
                                                                                                                in aa
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                      much larger
                      much        aggregate expenditure
                           larger aggregate expenditure of resources than
                                                        of resources than allowing
                                                                          allowing Respondent’s
                                                                                   Respondent's claim
                                                                                                claim to
                                                                                                      to proceed
                                                                                                         proceed
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                      now as
                      now    he desires.
                          as he          In contrast,
                                desires. In contrast, this
                                                      this Court’s
                                                           Court's adjudication
                                                                   adjudication of Respondent’s asylum,
                                                                                of Respondent's asylum, withholding
                                                                                                        withholding of
                                                                                                                    of
                      removal and
                      removal and withholding based on
                                  withholding based on the
                                                       the Torture
                                                           Torture Convention promotes finality
                                                                   Convention promotes finality of the removal
                                                                                                of the removal

                      proceedings and
                      proceedings and prevents
                                      prevents waste
                                               waste of
                                                     of government
                                                        government resources.
                                                                   resources. If this case
                                                                              If this case is
                                                                                           is allowed
                                                                                              allowed to
                                                                                                      to move
                                                                                                         move
                      forward, the
                      forward, the Court
                                   Court will
                                         will schedule
                                              schedule Respondent
                                                       Respondent for
                                                                  for an
                                                                      an individual
                                                                         individual hearing
                                                                                    hearing which
                                                                                            which will
                                                                                                  will use
                                                                                                       use aa limited
                                                                                                              limited

                      amount of
                      amount of the
                                the Court's
                                    Court’s time
                                            time and
                                                 and of
                                                     of OPLA’s time.
                                                        OPLA's time.

                             Because DHS
                             Because DHS cannot
                                         cannot establish
                                                establish either
                                                          either of
                                                                 of the
                                                                    the necessary
                                                                        necessary requirements
                                                                                  requirements for
                                                                                               for bringing
                                                                                                   bringing aa motion
                                                                                                               motion

                      to dismiss
                      to dismiss under
                                 under 88 C.F.R.
                                          C.F.R. §§ 239.2(a)(7), this Court
                                                    239.2(a)(7), this       must deny
                                                                      Court must deny the
                                                                                      themotion
                                                                                          motion and
                                                                                                 and allow
                                                                                                     allow Respondent's
                                                                                                           Respondent’s

                      case to
                      case to proceed
                              proceed to
                                      to an
                                         an adjudication
                                            adjudication on
                                                         on the
                                                            the merits.
                                                                merits.

                             III. CONCLUSION
                             III. CONCLUSION

                             For all
                             For all of the reasons
                                     of the reasons stated
                                                    stated above,
                                                           above, this
                                                                  this Court
                                                                       Court should
                                                                             should deny
                                                                                    deny DHS’s
                                                                                         DHS's motion
                                                                                               motion to
                                                                                                      to dismiss
                                                                                                         dismiss and
                                                                                                                 and
                      allow Respondent
                      allow Respondent to
                                       to proceed
                                          proceed to
                                                  to the
                                                     themerits
                                                         merits of
                                                                of the
                                                                   the application
                                                                       application pending
                                                                                   pending before
                                                                                           before the
                                                                                                  the Court.
                                                                                                      Court.



                      Respectfully submitted,
                      Respectfully submitted,


                      June 9, 2025
                      June 9, 2025                                        /s/ Melanie
                                                                          /s/ Melanie M
                                                                                      M Chaput
                                                                                          Chaput
                      Date
                      Date                                                Melanie   Marie Chaput, Esq.
                                                                          Melanie Marie Chaput,    Esq.
                                                                          Chaput Law
                                                                          Chaput   Law Office
                                                                                        Office
                                                                          46 Bridge Street,
                                                                          46  Bridge Street, Unit
                                                                                             Unit G
                                                                                                  G
                                                                          Nashua,   NH  03060
                                                                          Nashua, NH 03060
                                                                          (603) 883-0085
                                                                          (603)  883-0085
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                      Cleberson OLIVEIRA
                      Cleberson OLIVEIRA GOMES
                                         GOMES
                      A# 226-040-357
                      A# 226-040-357


                                                         PROOF OF
                                                         PROOF OF SERVICE
                                                                  SERVICE


                           II hereby
                              hereby certify
                                     certify that
                                             that aa copy
                                                     copy of the foregoing
                                                          of the foregoing RESPONDENT’S
                                                                            RESPONDENT'S OPPOSITION
                                                                                                  OPPOSITION TO
                                                                                                             TO
                      DHS’ MOTION
                      DHS' MOTION TO   TO DISMISS
                                           DISMISS was  was sent
                                                             sent via
                                                                  via electronic
                                                                      electronic service
                                                                                 service on
                                                                                         on this
                                                                                            this day
                                                                                                 day to
                                                                                                     to the:
                                                                                                        the:

                             Office of
                             Office of Principal
                                       Principal Legal
                                                 Legal Advisor,
                                                       Advisor,
                             150 Apollo
                             150 Apollo Drive,
                                        Drive,
                             Chelmsford, MA 01824.
                             Chelmsford, MA   01824.



                      June 9,
                      June 9, 2025
                              2025                                        /s/ Melanie
                                                                          /s/ Melanie M
                                                                                      M Chaput
                                                                                        Chaput
                      Date
                      Date                                               Melanie Marie
                                                                         Melanie  Marie Chaput,
                                                                                         Chaput, Esq.
                                                                                                 Esq.
                                                                         Chaput  Law   Office
                                                                         Chaput Law Office
                                                                  46 Bridge
                                                                  46 Bridge Street,
                                                                            Street, Unit
                                                                                    Unit G
                                                                                         G
                                                                         Nashua,
                                                                         Nashua, NH    03060
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